08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                            Volume I Pg 1 of 240




                             A. 1
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                  Volume I Pg 2 of 240

                                                                                 Page 1
 1                               R. AZERAD
 2                 UNITED STATES BANKRUPTCY COURT
 3                 SOUTHERN DISTRICT OF NEW YORK
 4    ----------------------x
 5    In Re:
 6                                            Chapter 11
 7    LEHMAN BROTHERS                         Case No. 08-13555(JMP)
 8    HOLDINGS, INC., et al.,                 (Jointly Administered)
 9

                           Debtors.
10

      -----------------------x
11                                *REVISED*
12

13                  DEPOSITION OF ROBERT AZERAD
14                        New York, New York
15                         August 17, 2009
16

17

18

19

20

21

22

23    Reported by:
24    KATHY S. KLEPFER, RMR, RPR, CRR, CLR
25    JOB NO. 24041
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 3 of 240

                                                                                Page 2
 1                              R. AZERAD
 2                        August 17, 2009
 3                              9:29 a.m.
 4

 5

 6          Deposition of ROBERT AZERAD, held at Jones Day
 7          LLP, 222 East 41st Street, LLP, New
 8          York, New York, before Kathy S.
 9          Klepfer, a Registered Professional
10          Reporter, Registered Merit Reporter,
11          Certified Realtime Reporter, Certified
12          Livenote Reporter, and Notary Public
13          of the State of New York.
14

15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 4 of 240

                                                                                Page 3
 1                              R. AZERAD
 2

 3                    A P P E A R A N C E S:
 4    JONES DAY, LLP
 5    Attorneys for Lehman Brothers, Inc.
 6          222 East 41st Street
 7          New York, New York            10017-6702
 8    BY:   JAYANT W. TAMBE, ESQ.
 9          KELLY A. CARRERO, ESQ.
10

11    BOIES, SCHILLER & FLEXNER, LLP
12    Attorneys for Barclays and the Witness
13          575 Lexington Avenue - 7th Floor
14          New York, New York            10022
15    BY:   JACK G. STERN, ESQ.
16

17    QUINN, EMANUEL, URQUHART, OLIVER & HEDGES, LLP
18    Attorneys for the Creditors Committee
19          51 Madison Avenue
20          22nd Floor
21          New York, New York            10010
22    BY:   JAMES C. TECCE, ESQ.
23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 5 of 240

                                                                                Page 4
 1                              R. AZERAD
 2           A P P E A R A N C E S:              (Cont'd.)
 3

 4    JENNER & BLOCK, LLP
 5    Attorneys for the Examiner
 6          330 N. Wabash Avenue
 7          Chicago, Illinois           60611-7603
 8    BY:   DAVID C. LAYDEN, ESQ.
 9

10    HUGHES, HUBBARD & REED, LLP
11    Attorneys for the SIPA Trustee
12          One Battery Park Plaza
13          New York, New York            10004-1482
14    BY:   NEIL J. OXFORD, ESQ.
15          SETH D. ROTHMAN, ESQ.
16          AMINA HASSAN, ESQ.
17

18

19    Also Present:
20          RAJESH ANKALKOTI, Alvarez & Marsal
21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 6 of 240

                                                                                Page 5
 1                              R. AZERAD
 2    ROBERT AZERAD, called as a
 3          witness, having been duly sworn by a Notary
 4          Public, was examined and testified as
 5          follows:
 6    EXAMINATION BY
 7    MR. TAMBE:
 8         Q.       Good morning, Mr. Azerad.              My name is
 9    Jay Tambe.      I'm with Jones Day and we are
10    special counsel to Lehman Brothers Holding, Inc.
11    With me is my colleague Kelly Carrero.
12                  I will let the other lawyers around
13    the table introduce themselves and what parties
14    they represent and then we can get started.
15         A.       Okay.
16                  MR. ROTHMAN:        I'm Seth Rothman.           I
17         represent the Trustee under the SIPA
18         statute.
19                  MR. OXFORD:        Neil Oxford with Hughes,
20         Hubbard & Reed, a colleague with Seth
21         Rothman.
22                  MR. TECCE:       Good morning.         James Tecce
23         of Quinn Emanuel, Committee counsel.
24                  MS. HASSAN:        Amina Hassan from Hughes,
25         Hubbard & Reed.
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                  Volume I Pg 7 of 240

                                                                                 Page 6
 1                         R. AZERAD

 2                 MR. LAYDEN:     David Layden with Jenner

 3         & Block for the Examiner.

 4     BY MR. TAMBE:

 5     (The following portions have been removed due to their

 6     Confidentiality designations:

 7     Page 6, Line 5 through Page 13, Line 15 (Highly Confidential);

 8     Page 13, Line 16 through Page 24, Line 10 (Confidential);

 9     Page 24, Line 11 through Page 28, Line 17 (Highly Confidential);

10     Page 28, Line 18 through Page 34, Line 14 (Confidential);

11     Page 34, Line 15 through Page 137, Line 3 (Highly Confidential);

12     Page 137, Line 4 through Page 144, Line 6 (Confidential);

13     Page 144, Line 7 through Page 226, Line 23 (Highly Confidential);

14     Page 226, Line 24 through Page 231, Line 13 (Confidential).

15

16

17

18     (Transcript is continued on Pg. 231, Line 14)

19

20

21

22

23

24

25
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                  Volume I Pg 8 of 240

                                                                               Page 231
 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14                     (Time Noted:         5:29 P.M.)
15                                      oOo
16

17                                          ____________________
                                            ROBERT AZERAD
18

19             Subscribed and sworn to
               before me this               day
20             of                 2009.
21

               _______________________
22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 9 of 240

                                                                              Page 232
 1                                R. AZERAD
 2                               CERTIFICATE
 3           STATE OF NEW YORK )
                                       :   ss
 4           COUNTY OF NEW YORK)
 5                    I, Kathy S. Klepfer, a Registered
 6           Merit Reporter and Notary Public within and
 7           for the State of New York, do hereby
 8           certify:
 9                    That ROBERT AZERAD, the witness whose
10           deposition is herein before set forth, was
11           duly sworn by me and that such deposition is
12           a true record of the testimony given by such
13           witness.
14                    I further certify that I am not
15           related to any of the parties to this action
16           by blood or marriage and that I am in no way
17           interested in the outcome of this matter.
18                    I further certify that neither the
19           deponent nor a party requested a review of
20           the transcript pursuant to Federal Rule of
21           Civil Procedure 30(e) before the deposition
22           was completed.
23                    In witness whereof, I have hereunto
24           set my hand this 17th day of August, 2009.
25                              -------------------------------------
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 10 of 240

                                                                              Page 233
 1                                R. AZERAD
 2                                   INDEX
 3      WITNESS:                     EXAMINATION BY                        PAGE
 4      R. AZERAD                    Mr. Tambe                                 5
 5                                   Mr. Rothman                            170
 6      EXHIBITS:                                                          PAGE
 7      Exhibit 174, an e-mail from R. Azerad                                10
 8      dated 9/22/08
 9      Exhibit 175, a document bearing Bates                                76
10      Nos. BCI-EX-00054633 through 55046
11      Exhibit 176, a document bearing Bates                                84
12      Nos. 10331692
13      Exhibit 177, a document bearing Bates                               106
14      Nos. 303398 with attachment
15      Exhibit 178, an e-mail from M. Kelly to                             111
16      R. Azerad dated September              20, 2008, with
17      attachment
18      Exhibit 179, an e-mail chain, the earliest                          115
19      in time from G. Reilly to K. Wong, dated
20      September 22, 2008, with attachment
21      Exhibit 180, an e-mail chain, the first                             120
22      in time from M. Kelly to R. Azerad, dated
23      September 21, 2008
24      Exhibit 181, a document bearing Bates                               155
25      Nos. BCI-EX-00115093 through 115098
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 11 of 240

                                                                               Page 234
 1                                 R. AZERAD
 2                              INDEX (Cont'd.)
 3      EXHIBITS:                                                           PAGE
 4      Exhibit 182, an e-mail chain, the earliest                           170
 5      in time from P. Tonucci to R. Azerad and
 6      others, dated September 20, 2008
 7      Exhibit 183, an e-mail string, the first                             175
 8      in time from A. Blackwell to I. Lowitt,
 9      dated September 20, 2008
10      Exhibit 184, an e-mail string from R.                                177
11      Azerad to I. Lowitt and P. Tonucci dated
12      September 20, 2008
13      Exhibit 185, an e-mail from R. Azerad to                             183
14      M. Kelly dated September 21, 2008, with
15      attachment
16      Exhibit 186, an e-mail from R. Azerad to                             191
17      M. Kelly dated September 21, 2008, with
18      attachment
19      Exhibit 187, an e-mail string, the first                             197
20      in time from J. Potenciano to W. Burke
21      and others, dated September 17, 2008, with
22      attachment
23      Exhibit 188, an e-mail string, the earliest                          199
24      in time from M. Kelly to G. Romain and others,
25      dated September 21, 2008, with attachment
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 12 of 240

                                                                               Page 235
 1                                 R. AZERAD
 2                              INDEX (Cont'd.)
 3      EXHIBITS:                                                           PAGE
 4      Exhibit 189, an e-mail string, the earliest                          202
 5      in time from J. Potenciano to W. Burke and
 6      others, dated September 21, 2008, with
 7      attached e-mail string
 8      Exhibit 190, an e-mail chain, the earliest                           208
 9      in time from R. Azerad to P. Tonucci and
10      others dated September 21, 2008
11      Exhibit 191, an e-mail chain, the earliest                           209
12      in time from J. Potenciano to W. Burke and
13      others, dated September 21, 2008, with
14      attachment
15      Exhibit 192, an e-mail from R. Azerad to                             209
16      P. Tonucci dated September 22, 2008
17

18      REQUEST FOR PRODUCTION:
19      Page 11, Line 2
20

21

22

23

24

25
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 13 of 240

                                                                               Page 236
 1                                 R. AZERAD
 2                              INDEX (Cont'd.)
 3      DIRECTIONS NOT TO ANSWER:
 4      Page 40, Line 12
 5      Page 56, Line 17
 6      Page 104, Line 18
 7      Page 124, Line 15
 8      Page 124, Line 5
 9      Page 124, Line 10
10      Page 159, Line 2
11      Page 227, Line 19
12

13

14

15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 14 of 240

                                                                              Page 237
 1                        R. AZERAD
 2      NAME OF CASE: In re Lehman Brothers
 3      DATE OF DEPOSITION: August 17, 2009
 4      NAME OF WITNESS: Robert Azerad
 5      Reason Codes:
 6           1. To clarify the record.
             2. To conform to the facts.
 7           3. To correct transcription errors.
 8      Page ______ Line ______ Reason ______
        From _____________________ to _____________________
 9

        Page   ______ Line ______ Reason ______
10      From   _____________________ to _____________________
11      Page   ______ Line ______ Reason ______
        From   _____________________ to _____________________
12

        Page   ______ Line ______ Reason ______
13      From   _____________________ to _____________________
14      Page   ______ Line ______ Reason ______
        From   _____________________ to _____________________
15

        Page   ______ Line ______ Reason ______
16      From   _____________________ to _____________________
17      Page   ______ Line ______ Reason ______
        From   _____________________ to _____________________
18

        Page   ______ Line ______ Reason ______
19      From   _____________________ to _____________________
20      Page   ______ Line ______ Reason ______
        From   _____________________ to _____________________
21

        Page   ______ Line ______ Reason ______
22      From   _____________________ to _____________________
23      Page   ______ Line ______ Reason ______
        From   _____________________ to _____________________
24

                                             __________________________
25                                           ROBERT AZERAD
08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                           Volume I Pg 15 of 240




                             A. 2
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 16 of 240

                                                                                 Page 1
 1                           S. BERKENFELD
 2                 UNITED STATES BANKRUPTCY COURT
 3                 SOUTHERN DISTRICT OF NEW YORK
 4    ----------------------x
 5    In Re:
 6                                            Chapter 11
 7    LEHMAN BROTHERS                         Case No. 08-13555(JMP)
 8    HOLDINGS, INC., et al.,                 (Jointly Administered)
 9

                           Debtors.
10

      -----------------------x
11

12

13             DEPOSITION OF STEVEN BERKENFELD
14                        New York, New York
15                           August 6, 2009
16

17

18

19

20

21

22

23    Reported by:
24    KATHY S. KLEPFER, RMR, RPR, CRR, CLR
25    JOB NO. 24035
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 17 of 240

                                                                                Page 2
 1                          S. BERKENFELD
 2                          August 6, 2009
 3                              9:30 a.m.
 4

 5

 6          Deposition of STEVEN BERKENFELD, held at
 7          Jones Day, LLP, 222 East 41st Street, LLP,
 8          New York, New York, before Kathy S.
 9          Klepfer, a Registered Professional
10          Reporter, Registered Merit Reporter,
11          Certified Realtime Reporter, Certified
12          Livenote Reporter, and Notary Public
13          of the State of New York.
14

15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 18 of 240

                                                                                Page 3
 1                          S. BERKENFELD
 2

 3                    A P P E A R A N C E S:
 4

 5    JONES DAY, LLP
 6    Attorneys for Lehman Brothers, Inc.
 7          222 East 41st Street
 8          New York, New York            10017-6702
 9    BY:   ROBERT W. GAFFEY, ESQ.
10          BRIDGET CRAWFORD, ESQ.
11

12    BOIES, SCHILLER & FLEXNER, LLP
13    Attorneys for Barclays Capital
14    and the Witness
15          575 Lexington Avenue - 7th Floor
16          New York, New York            10022
17    BY:   JACK G. STERN, ESQ.
18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 19 of 240

                                                                                Page 4
 1                          S. BERKENFELD
 2           A P P E A R A N C E S:              (Cont'd.)
 3    QUINN, EMANUEL, URQUHART, OLIVER & HEDGES, LLP
 4    Attorneys for the Creditors Committee
 5          865 S. Figueroa Street, 10th Floor
 6          Los Angeles, California              90017
 7    BY:   ERICA P. TAGGART, ESQ.
 8

 9    JENNER & BLOCK, LLC
10    Attorneys for the Examiner
11          330 N. Wabash Avenue
12          Chicago, Illinois           60611-7603
13    BY:   ROBERT L. BYMAN, ESQ.
14

15    HUGHES, HUBBARD & REED, LLP
16    Attorneys for the SIPA Trustee
17          One Battery Park Plaza
18          New York, New York            10004-1482
19    BY:   NEIL J. OXFORD, ESQ.
20          AMINA HASSAN, ESQ.
21          JOHN F. WOOD, ESQ.
22

23    Also Present:
24          THOMAS E. HOMMEL, Lehman Brothers
25          PHILIP E. KRUSE, Alvarez & Marsal
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 20 of 240

                                                                                Page 5
 1                          S. BERKENFELD
 2                  (Witness sworn.)
 3                  MR. STERN:       I should just state on the
 4         record before we start that, in terms of
 5         confidentiality, we on behalf of Barclays
 6         will designate this transcript as highly
 7         confidential for today, and then within
 8         seven days of receipt of the transcript we
 9         will designate appropriate sections as
10         either highly confidential, confidential, or
11         not confidential.
12                  MR. GAFFEY:        I think, you know, we
13         can -- that's the agreement from Felder.
14         Let's do that for all of these.
15                  MR. STERN:       Agreed.
16                  MR. GAFFEY:        Everybody agree to that?
17    STEVEN BERKENFELD, called as a
18          witness, having been duly sworn by a Notary
19          Public, was examined and testified as
20          follows:
21    EXAMINATION BY
22    MR. GAFFEY:
23         Q.       Good morning, Mr. Berkenfeld.
24         A.       Good morning.
25         Q.       We met briefly before.             My name is Bob
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 21 of 240

                                                                                Page 6
 1                          S. BERKENFELD
 2    Gaffey.      I'm with Jones Day.           We're special
 3    counsel to the estate of Lehman Brothers
 4    Holdings, Inc.
 5                  As you know, the topics that we're
 6    going to address today will revolve around the
 7    transaction that took place in September of 2008
 8    in which Barclays purchased certain assets of
 9    Lehman Brothers Holdings, Inc. and LBI.
10                  Let me get some background information
11    on you first, sir.          You're qualified as a
12    lawyer; is that correct?
13         A.       Yes.
14         Q.       Columbia Law School?
15         A.       Yes.
16         Q.       Is your license up to date?               Do you
17    maintain an active registration?
18         A.       Yes, I believe my registration is up
19    to date.
20         Q.       There was a time when you worked for
21    Lehman.      Can you give me a brief resumé of your
22    Lehman career?        When you started, when you left,
23    and what titles you held?
24         A.       I started in January of 1987 and was
25    there through the transaction.                I had many
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 22 of 240

                                                                                 Page 7
 1                          S. BERKENFELD
 2    titles, but at the time of the transaction, I
 3    was a managing director.
 4         Q.       And what was your area of
 5    responsibility when you were a managing
 6    director?
 7         A.       There were, over the years, there were
 8    a number of different areas of responsibility.
 9         Q.       Okay.       Give me, if you would, the last
10    category before you left Lehman.                  I'm obviously
11    particularly interested in September of 2008,
12    but that segment.
13         A.       I was chairman of the, what we
14    referred to as the Transaction Approval
15    Committees, I was Chief Investment Officer for
16    the Private Equity Division, and I was head of
17    the Legal, Compliance and Audit Division.
18         Q.       And were you head of the Legal,
19    Compliance and Audit Division in September of
20    2008?
21         A.       Yes.
22         Q.       And just for completeness, before
23    Lehman, you were an associate at Fried Frank,
24    correct?
25         A.       Yes.
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 23 of 240

                                                                                 Page 8
 1                          S. BERKENFELD
 2         Q.       And were essentially involved in
 3    mergers and acquisitions?
 4         A.       Yes.
 5         Q.       Now, you said that you held these
 6    positions at Lehman through the transaction.
 7    When exactly did you leave the employ of --
 8    actually, withdrawn.
 9                  Were you employed by Lehman Brothers
10    Holdings, Lehman Brothers, Inc., some
11    combination of both?            What was the entity that
12    employed you?
13         A.       I don't know.
14         Q.       Okay.       And when exactly did you leave
15    the employ of Lehman?
16         A.       That's actually a good question,
17    because it's not really precise.                  I don't know
18    that I could give you a specific date on that.
19                  MR. STERN:        You can describe why it's
20         not precise.
21         A.       There was everything from -- there was
22    sort of a transitional period where many people
23    were performing services for both Lehman and
24    starting to perform services for Barclays, too.
25         Q.       Okay.       That would be --
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 24 of 240

                                                                                 Page 9
 1                        S. BERKENFELD

 2       A.        So it was kind of a transitional

 3   period.

 4       Q.        As opposed, sir, to the -- I

 5   understand that after the transaction closed,

 6   there would be transitional work where you had

 7   your old Lehman hat on in terms items of

 8   knowledge or necessities.

 9                 My question, though, is who employed

10   you and when?        Who was your employer on

11   September 22, 2008?

12       A.        September 22, 2008.     I don't recall.

13   I'd have to take a look at where the paychecks

14   came from.

15       Q.        And the reason I picked September 22,

16   2008, that's the date the transaction closed,

17   correct?

18       A.        Yes.

19        (The following portions have been removed dur to their

20   Confidentiality designations:

21   Page 9, Line 19 through Page 26, Line 23 (Highly Confidential);

22   Page 26, Line 24 through Page 32, Line 3 (Confidential);

23   Page 32, Line 4 through Page 35, Line 19 (Highly Confidential);

24   Page 35, Line 20 through Page 53, Line 22 (Confidential);

25   Page 53, Line 23 through Page 159, Line 13 (Highly Confidential);
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 25 of 240


                                                                               Page 10
 1   Page 159, Line 14 through Page 167, Line 8 (Confidential);

 2   Page 167, Line 9 through Page 181, Line 22 (Highly Confidential);

 3   Page 181, Line 23 through Page 205, Line 19 (Confidential);

 4   Page 205, Line 20 through Page 242, Line 21 (Highly Confidential);

 5   Page 242, Line 22 through Page 252, Line 5 (Confidential);

 6   Page 252, Line 6 through Page 273, Line 18 (Highly Confidential);

 7   Page 273, Line 19 through Page 278, Line 4 (Confidential); and

 8   Page 278, Line 5 through Page 303, Line 4 (Highly Confidential).

 9

10         (The Transcript is continued on Page 303, Line 5

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 26 of 240

                                                                               Page 301
 1

 2

 3

 4

 5                  (Time Noted:         4:57 P.M.)
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19                                       ____________________
                                         STEVEN BERKENFELD
20

21          Subscribed and sworn to
            before me this               day
22          of                  2009.
23

            _______________________
24

25
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 27 of 240

                                                                               Page 302
 1                          S. BERKENFELD
 2                              CERTIFICATE
 3         STATE OF NEW YORK )
                                      :    ss
 4         COUNTY OF NEW YORK)
 5                  I, Kathy S. Klepfer, a Registered
 6         Merit Reporter and Notary Public within and
 7         for the State of New York, do hereby
 8         certify:
 9                  That STEVEN BERKENFELD, the witness
10         whose deposition is herein before set forth,
11         was duly sworn by me and that such
12         deposition is a true record of the testimony
13         given by such witness.
14                  I further certify that I am not
15         related to any of the parties to this action
16         by blood or marriage and that I am in no way
17         interested in the outcome of this matter.
18                  I further certify that neither the
19         deponent nor a party requested a review of
20         the transcript pursuant to Federal Rule of
21         Civil Procedure 30(e) before the deposition
22         was completed.
23                  In witness whereof, I have hereunto
24         set my hand this 6th day of August, 2009.
25                          -------------------------------

                          KATHY S. KLEPFER, RPR, RMR, CRR, CLR
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 28 of 240

                                                                              Page 303
 1                          S. BERKENFELD
 2                                INDEX
 3    WITNESS:                    EXAMINATION BY                 PAGE
 4    S. BERKENFELD               Mr. Gaffey                  5, 298
 5                                Mr. Oxford                      240
 6                                Ms. Taggart                     278
 7                                Mr. Stern                       299
 8    EXHIBITS:                                                  PAGE
 9    Exhibit 17, a document bearing Bates                          20
10    Nos. BCI-EX-00077288 through 77290
11    Exhibit 18, a document bearing Bates Nos.                     43
12    BCI-CG00033789
13    Exhibit 19, one-page document, showing                        43
14    columns of assets and liabilities, dated
15    9/16/2008 at 11:18 A.M.
16    Exhibit 20, a document bearing Bates                          67
17    Nos. 132841
18    Exhibit 21, a document bearing Bates                          73
19    Nos. 10309627
20    Exhibit 22, Barclays PLC Results                            125
21    Announcement, Figures 2008
22    Exhibit 23, a document bearing Bates                        129
23    Nos. 70283
24    Exhibit 24, First Amendment to the Asset                    135
25    Purchase Agreement
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 29 of 240

                                                                              Page 304
 1                          S. BERKENFELD
 2                        INDEX (Cont'd.)
 3    EXHIBITS:                                                  PAGE
 4    Exhibit 25, a letter dated September                        135
 5    20, 2008
 6    Exhibit 26, Notice of Filing of                             159
 7    Purchase Agreement
 8    Exhibit 28, a document bearing Bates                        183
 9    Nos.   BCI-CG00011047 through 11050
10    Exhibit 29, a document bearing Bates                        183
11    Nos. 10284821 through 10279830
12    Exhibit 30, an e-mail string, the first                     183
13    of which from P. Dowd to A. Keller, et al.
14    Exhibit 31, a document bearing Bates                        183
15    Nos. 10279029 through 10279862
16    Exhibit 32, a document bearing Bates                        183
17    Nos. BCI-EX-00059913 through 59929
18    Exhibit 33, a document bearing Bates                        183
19    Nos. 10284801 through 10286514
20    Exhibit 34, a document bearing Bates                        183
21    Nos. 10279028 through 10279851
22    Exhibit 35, a document bearing Bates                        184
23    Nos. 10284822 and 10279863 through
24    10279864
25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 30 of 240

                                                                              Page 305
 1                          S. BERKENFELD
 2                        INDEX (Cont'd.)
 3    EXHIBITS:                                                     PAGE
 4    Exhibit 36, a document bearing Bates                           184
 5    Nos. BCI-CG00024252 through 24271
 6    Exhibit 37, a document bearing Bates                           184
 7    Nos. BCI-CG00024954 through 24973
 8    Exhibit 38, a document bearing Bates                           184
 9    Nos. 10283756 with attachments
10    Exhibit 39, e-mail from S. Berkenfeld                          200
11    to Beth Rudofker dated Saturday, September
12    20, at 1:07 P.M.
13    Exhibit 40, a document bearing Bates                           204
14    Nos. STB-LEH0000272 through 277
15    Exhibit 41, a document bearing Bates                           208
16    Nos. 10266839 with attachment
17    Exhibit 42, a document bearing Bates                           221
18    Nos. 10283125 with attachment
19    Exhibit 43, a document bearing Bates                           224
20    Nos. 10270558
21    Exhibit 44, a document bearing Bates                           227
22    Nos. 459686
23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 31 of 240

                                                                              Page 306
 1                          S. BERKENFELD
 2                        INDEX (Cont'd.)
 3    EXHIBITS:                                                     PAGE
 4    Exhibit 45, a one-page e-mail from Ian                         229
 5    Lowitt to Steven Berkenfeld, Bart McDade,
 6    Alex Kirk, Paolo Tonucci, CC to James
 7    Seery, dated 9/22/08 at 7:23 A.M. entitled
 8    "Looks Like We're All Set"
 9    Exhibit 46, a document bearing Bates                           233
10    Nos. BCI-CG00034704 through 34707
11    Exhibit 47, a document bearing Bates                           235
12    Nos. BCI-CG00035134 through 35955
13    Exhibit 48, an e-mail from Monty Forrest                       251
14    to Alastair Blackwell and others
15    Exhibit 49, a document bearing Bates Nos.                      258
16    BCI-CG00024954 through 24972
17    Exhibit 50, a document bearing Bates Nos.                      260
18    BCI-CG00027138 through 27148
19    Exhibit 51, Transfer and Assumption Agrmt.                       266
20    Exhibit 52, a letter dated September 22,                       268
21    2008, from DTC
22    Exhibit 53, a document bearing Bates Nos.                      269
23    BCI-EX-(S)-00007181
24    Exhibit 54, a document bearing Bates Nos.                      273
25    BCI-EX-(S)-00007197 through 7201
08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                           Volume I Pg 32 of 240




                             A. 3
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 33 of 240

                                                                                 Page 1
 1

 2                 UNITED STATES BANKRUPTCY COURT
 3                 SOUTHERN DISTRICT OF NEW YORK
 4

 5    In re:                                )
                                            ) Chapter 11
 6    LEHMAN BROTHERS                       ) Case No. 08-13555(JMP)
                                            )
 7    HOLDINGS, INC., et al.,               )
                                            )
 8                       Debtors.           )
      --------------------------)
 9

10

11

12

13

14                              DEPOSITION OF
15                        ALASTAIR BLACKWELL
16                        New York, New York
17                      Friday, August 7, 2009
18

19

20

21

22

23    Reported by:
24    KRISTIN KOCH, RPR, RMR, CRR, CLR
25    JOB NO. 24037
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 34 of 240

                                                                                Page 2
 1

 2

 3

 4                                   August 7, 2009
 5                                   9:21 a.m.
 6

 7

 8                   Deposition of ALASTAIR BLACKWELL,
 9          held at the offices of JONES DAY, LLP, 222
10          East 41st Street, New York, New York,
11          before Kristin Koch, a Registered
12          Professional Reporter, Registered Merit
13          Reporter, Certified Realtime Reporter,
14          Certified Livenote Reporter and Notary
15          Public of the State of New York.
16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 35 of 240

                                                                                Page 3
 1

 2    A P P E A R A N C E S:
 3

 4

 5          JONES DAY, LLP
 6          Attorneys for Lehman Brothers, Inc.
 7                   222 East 41st Street
 8                   New York, New York 10017-6702
 9          BY:      WILLIAM J. HINE, ESQ.
10                   GEORGE E. SPENCER, ESQ.
11

12

13          BOIES, SCHILLER & FLEXNER, LLP
14          Attorneys for Barclays and Alastair
15          Blackwell
16                   5301 Wisconsin Avenue, N.W.
17                   Washington, D.C. 20015
18          BY:      JONATHAN M. SHAW, ESQ.
19

20

21          QUINN EMANUEL URQUHART OLIVER & HEDGES LLP
22          Attorneys for Creditors Committee
23                   51 Madison Avenue
24                   New York, New York 10010
25          BY:      ROBERT K. DAKIS, ESQ.
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 36 of 240

                                                                                Page 4
 1

 2    A P P E A R A N C E S:            (Continued)
 3

 4

 5          JENNER & BLOCK LLP
 6          Attorneys for Examiner
 7                   330 North Wabash Avenue
 8                   Chicago, Illinois 60611-7603
 9          BY:      ROBERT L. BYMAN, ESQ.
10

11

12          HUGHES HUBBARD & REED LLP
13          Attorneys for SIPA Trustee
14                   One Battery Park Plaza
15                   New York, New York 10004-1482
16          BY:      SETH D. ROTHMAN, ESQ.
17                   NEIL J. OXFORD, ESQ.
18                   AMINA HASSAN, ESQ.
19

20

21    ALSO PRESENT:
22

23          RAJESH ANKALKOTI, Alvarez & Marsal
24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 37 of 240

                                                                                Page 5
 1

 2                   IT IS HEREBY STIPULATED AND AGREED
 3          by and between the attorneys for the
 4          respective parties herein, that filing and
 5          sealing be and the same are hereby waived.
 6                   IT IS FURTHER STIPULATED AND AGREED
 7          that all objections, except as to the form
 8          of the question, shall be reserved to the
 9          time of the trial.
10                   IT IS FURTHER STIPULATED AND AGREED
11          that the within deposition may be sworn to
12          and signed before any officer authorized
13          to administer an oath, with the same
14          force and effect as if signed and sworn
15          to before the Court.
16

17

18

19

20                                     - oOo -
21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 38 of 240

                                                                                Page 6
 1

 2    A L A S T A I R           B L A C K W E L L,
 3          called as a witness, having been duly sworn
 4          by a Notary Public, was examined and
 5          testified as follows:
 6    EXAMINATION BY
 7    MR. HINE:
 8          Q.       Good morning, Mr. Blackwell.
 9          A.       Good morning.
10          Q.       How are you?
11          A.       Very good, thanks.
12          Q.       I am sure your counsel has told you
13    what's going on here today, but we are here
14    taking a deposition involving the Lehman
15    bankruptcy proceedings.
16                   My name is Bill Hine and I am from
17    Jones Day, which is the firm that's special
18    counsel to LBHI.          Several of the other counsel
19    along the table will introduce themselves
20    later, but they represent various entities that
21    are involved in this proceeding.
22                   So the way this is going to work is
23    I am going to ask you a bunch of questions
24    first and they will all take turns with you
25    later as we progress.
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 39 of 240

                                                                                Page 7
 1                              Blackwell
 2          A.       Understood.
 3          Q.       As we go, I am going to be asking
 4    you a series of questions.              You are under oath,
 5    so you will answer the questions.                 At some
 6    points in time you will hear your counsel state
 7    an objection.       That doesn't mean you don't have
 8    to answer the question.             That just means he is
 9    either preserving the record or he wants to ask
10    me to clarify the question.              If he instructs
11    you not to answer, that's up to you as well,
12    but the mere fact that he makes an objection
13    doesn't mean you don't have to answer the
14    question.
15                   In that vein, I'd like to ask you
16    just please ask me to clarify any question
17    where I might misuse an acronym or a word.                     I
18    feel like I am learning a new language here
19    reading all you folks' e-mail, so I know there
20    is technical financial words that you guys use
21    and you understand readily, but if you need me
22    to clarify one, I want to have a clear question
23    so you can answer it.
24                   I think your counsel has probably
25    told you, but you have been designated as a
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 40 of 240

                                                                                Page 8
 1                         Blackwell

 2   30(b)(6) witness for a select set of issues in

 3   this case and those issues relate to Schedules

 4   A and B of the Clarification Letter.           We will

 5   get to that later, but I just want to let you

 6   know that, and that I will alert you to that

 7   fact when we get to that portion of the

 8   deposition, so in that portion you will be

 9   speaking on behalf of Barclays.

10                 So I am ready to proceed if you are.

11   Are we ready to do this?

12         A.      Absolutely, yes.      Thank you.

13         Q.      Can we start off with a little

14   background information about you.

15                 You are currently employed by

16   Barclays Capital; correct?

17         A.      I am, yes.

18         Q.      And what is your present position?

19         A.      I am responsible for the Americas

20   operations department for capital markets.

21         Q.      Okay.   And do you have a title?

22         A.      I am a managing director.

23   (The following portions have been removed due to their

24   Confidentiality designations:

25   Page 8, Line 23 through Page 9, Line 15 (Highly Confidential);
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 41 of 240

                                                                                Page 9
 1   Page 9, Line 16 through Page 17, Line 13 (Confidential);

 2   Page 17, Line 14 through Page 35, Line 2 (Highly Confidential);

 3   Page 35, Line 3 through Page 38, Line 6 (Confidential);

 4   Page 38, Line 7 through Page 49, Line 20 (Highly Confidential);

 5   Page 49, Line 21 through Page 51, Line 16 (Confidential);

 6   Page 51, Line 17 through Page 95, Line 24 (Highly Confidential);

 7   Page 95, Line 25 through Page 97, Line 7 (Confidential);

 8   Page 97, Line 8 through Page 103, Line 12 (Highly Confidential);

 9   Page 103, Line 13 through Page 114, Line 11 (Confidential);

10   Page 114, Line 12 through Page 156, Line 24 (Highly Confidential);

11   Page 156, Line 25 through Page 159, Line 5 (Confidential);

12   Page 159, Line 6 through Page 187, Line 25 (Highly Confidential).

13   Page 188, Line 1 through Page 191, Line 8 (Confidential);

14   Page 191, Line 9 through Page 243, Line 12 (Highly Confidential);

15   Page 243, Line 13 through Page 247, Line 6 (Confidential);

16   Page 247, Line 7 through Page 255, Line 2 (Highly Confidential);

17   Page 255, Line 3 through Page 258, Line 22 (Confidential); and

18   Page 258, Line 23 through Page 267, Line 10 (Highly Confidential).

19

20

21

22

23       (Transcript is continued on Pg. 267, Line 11)

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 42 of 240

                                                                              Page 267
 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11                      (Time noted:         4:27 p.m.)
12

13

14                                      ---------------------
15                                      ALASTAIR BLACKWELL
16

17      Subscribed and sworn to before me
18      this             day of                           2009.
19

20      ---------------------------------------
21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 43 of 240

                                                                              Page 268
 1

 2                          C E R T I F I C A T E
 3

 4      STATE OF NEW YORK            )
 5                                     ) ss.:
 6      COUNTY OF NASSAU             )
 7

 8                      I, KRISTIN KOCH, a Notary Public
 9             within and for the State of New York, do
10             hereby certify:
11                      That ALASTAIR BLACKWELL, the witness
12             whose deposition is hereinbefore set
13             forth, was duly sworn by me and that such
14             deposition is a true record of the
15             testimony given by such witness.
16                      I further certify that I am not
17             related to any of the parties to this
18             action by blood or marriage; and that I am
19             in no way interested in the outcome of
20             this matter.
21                      IN WITNESS WHEREOF, I have hereunto
22             set my hand this 7th day August, 2009.
23                                  -------------------------
24                                  KRISTIN KOCH, RPR, RMR, CRR, CLR
25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14    Appendix
                                Volume I Pg 44 of 240

                                                                               Page 269
 1
 2      --------------------I N D E X------------------
 3

        WITNESS                         EXAMINATION BY                 PAGE
 4
 5      ALASTAIR BLACKWELL              MR. HINE                       6
 6                                      MR. OXFORD                   190
 7                                      MR. DAKIS                    255
 8

        --------------------EXHIBITS-------------------
 9
10      NUMBER                                               PAGE LINE
11

        Exhibit 55 B
12      Letter dated October 2, 2008, Bates
        stamped BCI-EX-00077291 through
13      BCI-EX-00077293...................... 22                       19
14      Exhibit 56 B
        E-mail dated May 29, 2009, Bates
15      stamped 10295594, with attached
        fax, Bates stamped 10300652.......... 46                       16
16

        Exhibit 57 B
17      Amendment Agreement.................. 50                       10
18      Exhibit 58 B
        E-mail dated September 17, 2008,
19      Bates stamped 77752.................. 64                       11
20      Exhibit 59 B
        E-mail dated 9-17-2008............... 64                       14
21

        Exhibit 60 B
22      E-mail dated 9-18-2008............... 71                       20
23      Exhibit 61 B
        E-mail dated 9-17-2008............... 77                       15
24

        Exhibit 62 B
25      E-mail dated September 17, 2008,
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14    Appendix
                                Volume I Pg 45 of 240

                                                                               Page 270
 1
 2      --------------------EXHIBITS-------------------
 3
        NUMBER                                               PAGE LINE
 4
 5      Exhibit 63 B
        E-mail dated September 19, 2008,
 6      Bates stamped 10294630............... 97                       10
 7      Exhibit 64 B
        E-mail dated 9-18-2008............... 103                      14
 8
        Exhibit 65 B
 9      E-mail dated September 19, 2008,
        Bates stamped 10298087............... 105                      16
10
        Exhibit 66 B
11      E-mail dated September 19, 2008,
        Bates stamped 10298186............... 112                      13
12
        Exhibit 67 B
13      E-mail dated 9-18-2008............... 115                      19
14      Exhibit 68 B
        E-mail dated 9-20-2008............... 118                      8
15
        Exhibit 69 B
16      E-mail dated September 19, 2008,
        Bates stamped 93219.................. 124                      9
17
        Exhibit 70 B
18      E-mail dated May 29, 2009, Bates
        stamped 10296524..................... 127                      4
19
        Exhibit 71 B
20      E-mail dated September 19, 2008,
        Bates stamped 138587................. 128                      13
21
        Exhibit 72 B
22      E-mail dated 9-20-2008............... 132                      22
23      Exhibit 73 B
        E-mail dated September 20, 2008,
24      Bates stamped 10222586............... 136                      8
25      Exhibit 74 B
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14    Appendix
                                Volume I Pg 46 of 240

                                                                               Page 271
 1
 2      --------------------EXHIBITS-------------------
 3
        NUMBER                                               PAGE LINE
 4
 5      Exhibit 75 B
        E-mail dated 9-20-2008............... 149                      13
 6
        Exhibit 76 B
 7      E-mail dated September 21, 2008,
        Bates stamped 138124................. 154                      14
 8
        Exhibit 77 B
 9      E-mail dated September 21, 2008,
        Bates stamped 459680................. 156                      25
10
        Exhibit 78 B
11      E-mail dated September 21, 2008,
        Bates stamped 10252597............... 159                      6
12
        Exhibit 79 B
13      E-mail dated 9-21-2008...............                   160    15
14      Exhibit 80 B
        E-mail dated September 22, 2008,
15      Bates stamped 464767.................                   163    10
16      Exhibit 81 B
        Debtors' Second Rule 30(b)(6)
17      Deposition Notice to Barclays on
        Issues Relating to the Transfer of
18      Assets...............................                   167    4
19      Exhibit 82 B
        E-mail dated September 20, 2008,
20      Bates stamped BCI-CG 00035134........                   170    6
21      Exhibit 83 B
        E-mail dated September 21, 2008,
22      Bates stamped BCI 006647 through
        BCI 006653...........................                   173    18
23
        Exhibit 84 B
24      E-mail dated September 22, 2008,
        Bates stamped BCI 008149 through
25      BCI 008670........................... 175                      16
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14    Appendix
                                Volume I Pg 47 of 240

                                                                               Page 272
 1
 2      --------------------EXHIBITS-------------------
 3

        NUMBER                                               PAGE LINE
 4
 5      Exhibit 85 B
        E-mail dated September 30, 2008,
 6      Bates stamped BCI-EX-(S)-00004396
        through BCI-EX-(S)-00004675.......... 177                      15
 7

        Exhibit 86 B
 8      Chart, Bates stamped
        BCI-EX-00099519 through
 9      BCI-EX-00099521...................... 185                      17
10      Exhibit 87 B
        JPM Chase assets, Bates stamped
11      BCI-EX-00108700...................... 188                      2
12      Exhibit 88 B
        Chart, Bates stamped
13      BCI-EX-00109154 through
        BCI-EX-00109161...................... 188                      24
14

        Exhibit 89 B
15      E-mail dated 9-19-2008............... 222                      25
16      Exhibit 90 B
        E-mail dated 9-19-2008............... 225                      3
17

        Exhibit 91 B
18      E-mail dated 9-21-2008............... 226                      7
19      Exhibit 92 B
        E-mail dated 9-20-2008............... 228                      18
20

        Exhibit 93 B
21      Management of the Unencumbered
        Asset Gap............................ 235                      2
22

        Exhibit 94 B
23      E-mail dated 9-22-2008............... 241                      21
24      Exhibit 95
        E-mail dated 9-21-2008............... 243                      13
25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14    Appendix
                                Volume I Pg 48 of 240

                                                                               Page 273
 1

 2      --------------------EXHIBITS-------------------
 3

        NUMBER                                               PAGE LINE
 4

 5      Exhibit 96 B
        E-mail dated September 18, 2008,
 6      Bates stamped 77882.................. 258                      11
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 49 of 240

                                                                               Page 274
 1

 2                 ERRATA SHEET FOR THE TRANSCRIPT OF:
 3      Case Name:                   In re:     Lehman Brothers
        Dep. Date:                   August 7, 2009
 4      Deponent:                    Alastair Blackwell
 5                                 CORRECTIONS:
 6      Pg. Ln.       Now Reads               Should Read            Reason
 7      ___ ___       ______________          ______________         ______
 8      ___ ___       ______________          ______________         ______
 9      ___ ___       ______________          ______________         ______
10      ___ ___       ______________          ______________         ______
11      ___ ___       ______________          ______________         ______
12      ___ ___       ______________          ______________         ______
13      ___ ___       ______________          ______________         ______
14      ___ ___       ______________          ______________         ______
15      ___ ___       ______________          ______________         ______
16      ___ ___       ______________          ______________         ______
17      ___ ___       ______________          ______________         ______
18

19                                             ____________________
20                                             Signature of Deponent
21      SUBSCRIBED AND SWORN BEFORE ME
22      THIS____DAY OF____________, 2009.
23

24      _______________________________
25      (Notary Public)           MY COMMISSION EXPIRES:_______
08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                           Volume I Pg 50 of 240




                             A. 4
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14     Appendix
                                Volume I Pg 51 of 240

                                                                                   Page 1
 1             HIGHLY CONFIDENTIAL - PATRICK CLACKSON
 2                        UNITED STATES BANKRUPTCY COURT
 3                        SOUTHERN DISTRICT OF NEW YORK
 4    - - - - - - - - - - - - - - - - - - - - -
 5    In Re:
                                                                      Chapter 11
 6

 7    LEHMAN BROTHERS           Case No. 08-13555(JMP)
      HOLDINGS, INC. et al., (Jointly Administered)
 8

 9                                       Debtors.
10    - - - - - - - - - - - - - - - - - - - - - - -
11                                   HIGHLY CONFIDENTIAL
12                        DEPOSITION OF PATRICK CLACKSON
13                               Friday, September 4, 2009
14                                         At:      9:00 am
15                                            Taken at:
16                                            Barclays
                                     1 Churchill Place
17                                            London
                                       United Kingdom
18

19    Reported by: AILSA WILLIAMS
      Certified LiveNote Reporter
20

21

22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 52 of 240

                                                                                Page 2
 1             HIGHLY CONFIDENTIAL - PATRICK CLACKSON
 2                          A P P E A R A N C E S
 3                JONES DAY, LLP
                  Attorneys for Lehman Brothers, Inc.
 4                222 East 41st Street
                  New York, NY 10017-6702
 5                BY: JAYANT W. TAMBE, ESQ
                  BRIDGET CRAWFORD, ESQ
 6

                    BOIES, SCHILLER & FLEXNER, LLP
 7                  Attorneys for Barclays Capital and the
                    Witness
 8                  5301 Wisconsin Avenue N.W
                    Washington D.C 20015
 9                  BY: HAMISH HUME
10                  QUINN, EMANUEL, URQUHART, OLIVER & HEDGES,
                    LLP
11                  Attorneys for the Creditors Committee
                    16 Old Bailey
12                  London, United Kingdom EC4M 7EG
                    BY: MATTHEW BUNTING, ESQ.
13

                HUGHES, HUBBARD & REED, LLP
14              Attorneys for the SIPA Trustee
                1775 I Street, N.W
15              Washington D.C. 20006-2401
                BY: JOHN F. WOOD
16    Also Present:
17              PHILIP E. KRUSE: Alvarez & Marsal
18
19
20
21
22
23
24
25


                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14          Appendix
                                Volume I Pg 53 of 240

                                                                                         Page 3
 1            HIGHLY CONFIDENTIAL - PATRICK CLACKSON
 2
 3                             I N D E X
 4   PATRICK CLACKSON .. ... ... ... ...                       ...    ...   ...   ...   ..5
 5   DIRECT EXAMINATION BY MR. TAMBE: ..                       ...    ...   ...   ...   ..5
 6   CROSS-EXAMINATION BY MR. WOOD: ...                        ...    ...   ...   ...   149
 7   CROSS-EXAMINATION BY MR. BUNTING: .                       ...    ...   ...   ...   163
 8   FURTHER CROSS-EXAMINATION BY MR. ..                       ...    ...   ...   ...   170
               WOOD:
 9
10                         INDEX OF EXHIBITS
11   Exhibit 349A (Privileged, not . ... ... ... ... ... .27
               attached)
12
     Exhibit 350A (Privileged) . ... ... ... ... ... ... .30
13
     Exhibit 351A E-mail, Sept 15, 08 .. ... ... ... ... .31
14
     Exhibit 352A E-mail, Sept 16, 08 .. ... ... ... ... .36
15
     Exhibit 353A E-mail, Sept 24, 08 .. ... ... ... ... .41
16
     Exhibit 354A E-mail, Sept 16, 08 .. ... ... ... ... .42
17
     Exhibit 355A E-mail, Sept 16, 08 .. ... ... ... ... .59
18
     Exhibit 356A E-mail, Sept 17, 08 .. ... ... ... ... .71
19
     Exhibit 357A E-mail, Sept 17, 08 .. ... ... ... ... .73
20
     Exhibit 358A E-mail, Sept 18, 08 .. ... ... ... ... .85
21
     Exhibit 359A E-mail, Sept 20, 08 .. ... ... ... ... .87
22
     Exhibit 360A E-mail, Sept 20, 08 .. ... ... ... ... .88
23
     Exhibit 361A E-mail, Sept 22, 08 .. ... ... ... ... .88
24
     Exhibit 362A E-mail, Sept 19, 08 .. ... ... ... ... .98
25   Exhibit 363A E-mail, Sept 23, 08 .. ... ... ... ... 101

                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 54 of 240

                                                                                Page 4
 1            HIGHLY CONFIDENTIAL - PATRICK CLACKSON
 2

     Exhibit 364A E-mail, Sept 23, 08 .. ... ... ... ... 104
 3

     Exhibit 365A E-mail, Sept 24, 08 .. ... ... ... ... 105
 4

     Exhibit 366A E-mail, Sept 21, 08 .. ... ... ... ... 112
 5

     Exhibit 367A E-mail, Sept 21, 08 .. ... ... ... ... 113
 6

     Exhibit 368A E-mail, Sept 23, 08 .. ... ... ... ... 118
 7

     Exhibit 369A E-mail, Sept 24, 08 .. ... ... ... ... 123
 8

     Exhibit 370A E-mail, Sept 23, 08 .. ... ... ... ... 124
 9

     Exhibit 371A Barclays Results . ... ... ... ... ... 146
10

     Exhibit 372A E-mail, Sept 17, 08 .. ... ... ... ... 150
11

     Exhibit 373A E-mail, Sept 22, 08 .. ... ... ... ... 158
12

     Exhibit 374A E-mail, Sept 23, 08 .. ... ... ... ... 160
13

     Exhibit 375A E-mail, Sept 29, 08 .. ... ... ... ... 161
14

     Exhibit 376A E-mail, Sept 17, 08 .. ... ... ... ... 169
15

     Exhibit 377A BCI-EX-00115843-46 ... ... ... ... ... 178
16
17
18
19
20
21
22
23
24
25


                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg    Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                  Volume I Pg 55 of 240

                                                                                  Page 5
 1           HIGHLY CONFIDENTIAL - PATRICK CLACKSON

 2                                PATRICK CLACKSON

 3                          Having been duly sworn,

 4                             Testified as follows:

 5                     DIRECT EXAMINATION BY MR. TAMBE:

 6                 MR. TAMBE:     Morning, Mr. Clackson.               My

 7   name is Jay Tambe with the law firm Jones Day,

 8   special counsel to Lehman Brothers Holdings Inc.

 9   With me is my colleague, Bridget Crawford.

10                 I will have the lawyers in the room

11   introduce themselves and we will get started.

12                 MR. BUNTING:     Morning, I am Matthew

13   Bunting from Quinn, Emanuel, Urquhart, Oliver &

14   Hedges representing Creditors Committee.

15                 MR. KRUSE:     Phillip Kruse with Alvarez &

16   Marsal on behalf of the LBHI estate.

17                 MR. WOOD:     John Wood from Hughes,

18   Hubbard & Reed.      We represent the SIPA Trustee.

19                 MR. HUME:     Hamish Hume, Boies, Schiller

20   & Flexner, representing Barclays and the witness.

21   (The following portions have been removed due to

22    their Confidentiality designation:

23   Page 5, Line 21 through Page 38, Line 17 (Confidential);

24   Page 38, Line 18 through Page 61, Line 14 (Highly Confidential);

25   Page 61, Line 15 through Page 71, Line 23 (Confidential);


                            TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 56 of 240

                                                                                Page 6
 1           HIGHLY CONFIDENTIAL - PATRICK CLACKSON

 2    Page 71, Line 24 through Page 163, Line 17 (Highly Confidential); and

 3    Page 163, Line 18 through Page 183, Line 12 (Confidential)

 4

 5    the transcript is continued on Page 183, Line 13.)

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 57 of 240

                                                                               Page 183
 1                 HIGHLY CONFIDENTIAL - PATRICK CLACKSON
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13                                (Deposition concluded)
14

15

16                                ________________________
17                                Patrick Clackson
18

19

20

21

22

23

24

25



                            TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 58 of 240

                                                                               Page 184
 1                 HIGHLY CONFIDENTIAL - PATRICK CLACKSON
 2

 3                                  CERTIFICATE OF DEPONENT
 4

 5     I, Patrick Clackson, hereby certify that I have
       read the foregoing pages, numbered 1 through 186,
 6     of my deposition of testimony taken in these
       proceedings on Friday, 4 September, 2009, and,
 7     with the exception of the changes listed on the
       next page and/or corrections, if any, find them to
 8     be a true and accurate transcription thereof.
 9

10

11

12

13     Signed:       ........................
14     Name:         Patrick Clackson
15     Date:        .........................
16

17

18

19

20

21

22

23

24

25



                            TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 59 of 240

                                                                               Page 185
 1                 HIGHLY CONFIDENTIAL - PATRICK CLACKSON
 2                          CERTIFICATE OF COURT REPORTER
 3
 4     I, AILSA WILLIAMS, an Accredited LiveNote Reporter
       with European Deposition Services, London,
 5     England, hereby certify that the testimony of the
       witness Patrick Clackson in the foregoing
 6     transcript, numbered pages 1 through 186, taken on
       Friday, 4 September, 2009 was recorded by me in
 7     machine shorthand and was thereafter transcribed
       by me; and that the foregoing transcript is a true
 8     and accurate verbatim record of the said
       testimony.
 9
10     I further certify that I am not a relative,
       employee, counsel or financially involved with any
11     of the parties to the within cause, nor am I an
       employee or relative of any counsel for the
12     parties, nor am I in any way interested in the
       outcome of the within cause.
13
14
15
16
17     Signed: ........................
18     AILSA WILLIAMS
19     Dated: 9/4/2009
20
21
22
23
24
25



                            TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14    Appendix
                                 Volume I Pg 60 of 240

                                                                                Page 186
 1                 HIGHLY CONFIDENTIAL - PATRICK CLACKSON
 2

 3                                             E R R A T A
 4                           Deposition of Patrick Clackson
 5     Page/Line No.                  Description                      Reason for
 6     change
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23     Signed:       ....................
24     Name:         Patrick Clackson
25     Date:         ....................

                            TSG Reporting - Worldwide (877) 702-9580
08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                           Volume I Pg 61 of 240




                             A. 5
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 62 of 240

                                                                                 Page 1
 1                           J. COGHLAN
 2                 UNITED STATES BANKRUPTCY COURT
 3                 SOUTHERN DISTRICT OF NEW YORK
 4    ----------------------x
 5    In Re:
 6                                            Chapter 11
 7    LEHMAN BROTHERS                         Case No. 08-13555(JMP)
 8    HOLDINGS, INC., et al.,                 (Jointly Administered)
 9

                           Debtors.
10

      -----------------------x
11

12                 * * *HIGHLY CONFIDENTIAL* * *
13                   DEPOSITION OF JOHN COGHLAN
14                        New York, New York
15                         August 13, 2009
16

17

18

19

20

21

22

23    Reported by:
24    KATHY S. KLEPFER, RMR, RPR, CRR, CLR
25    JOB NO. 24122
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 63 of 240

                                                                                Page 2
 1                          J. COGHLAN
 2                        August 13, 2009
 3                              9:30 a.m.
 4

 5

 6          Deposition of JOHN COGHLAN, held at Jones Day
 7          LLP, 222 East 41st Street, LLP, New
 8          York, New York, before Kathy S.
 9          Klepfer, a Registered Professional
10          Reporter, Registered Merit Reporter,
11          Certified Realtime Reporter, Certified
12          Livenote Reporter, and Notary Public
13          of the State of New York.
14

15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 64 of 240

                                                                                Page 3
 1                          J. COGHLAN
 2

 3                    A P P E A R A N C E S:
 4

 5    JONES DAY, LLP
 6    Attorneys for Lehman Brothers, Inc.
 7          222 East 41st Street
 8          New York, New York            10017-6702
 9    BY:   WILLIAM J. HINE, ESQ.
10          GEORGE E. SPENCER, ESQ.
11

12    BOIES, SCHILLER & FLEXNER, LLP
13    Attorneys for Barclays
14          575 Lexington Avenue - 7th Floor
15          New York, New York            10022
16    BY:   JACK G. STERN, ESQ.
17

18    SCARING & BRISSENDEN, PLLC
19    Attorneys for the Witness
20          666 Old County Road
21          Ste. 501
22          Garden City, New York             11530-2004
23    BY:   STEPHEN P. SCARING, ESQ.
24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 65 of 240

                                                                                Page 4
 1                          J. COGHLAN
 2

 3           A P P E A R A N C E S:              (Cont'd.)
 4

 5    QUINN, EMANUEL, URQUHART, OLIVER & HEDGES, LLP
 6    Attorneys for the Creditors Committee
 7          51 Madison Avenue
 8          22nd Floor
 9          New York, New York            10010
10    BY:   ERIC M. KAY, ESQ.
11

12    JENNER & BLOCK, LLP
13    Attorneys for the Examiner
14          330 N. Wabash Avenue
15          Chicago, Illinois           60611-7603
16    BY:   DAVID C. LAYDEN, ESQ.
17

18    HUGHES, HUBBARD & REED, LLP
19    Attorneys for the SIPA Trustee
20          One Battery Park Plaza
21          New York, New York            10004-1482
22    BY:   NEIL J. OXFORD, ESQ.
23

24    Also Present:
25          RAJESH ANKALKOTI, Alvarez & Marsal
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 66 of 240

                                                                                Page 5
 1                          J. COGHLAN
 2    JOHN COGHLAN, called as a
 3          witness, having been duly sworn by a Notary
 4          Public, was examined and testified as
 5          follows:
 6    EXAMINATION BY
 7    MR. HINE:
 8         Q.       Good morning, Mr. Coghlan.
 9         A.       Good morning.
10         Q.       We met briefly off the record just
11    before this, but my name is Bill Hine.                    I'm from
12    the firm of Jones Day and we are special counsel
13    to the Lehman Brothers Holdings, Inc. in
14    connection with the pending bankruptcy
15    proceedings.       This deposition is to take some
16    discovery in connection with that effort.
17                  Have you ever been deposed before?
18         A.       I have.
19         Q.       You have not?
20         A.       I have.
21         Q.       You have, okay.          So you know the
22    drill, generally.          I'm going to ask you some
23    questions.
24         A.       Uh-huh.
25         Q.       You're going to give me answers.                 On
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 67 of 240

                                                                                 Page 6
 1                          J. COGHLAN
 2    occasion, your counsel might state objections
 3    for the record or to instruct me that he thinks
 4    my questions are unclear or something wrong with
 5    my question.       That doesn't relieve you of the
 6    obligation to answer the question.
 7          A.      Uh-huh.
 8          Q.      It just gives me a chance to correct
 9    it.
10                  In that vein, throughout the course of
11    the day, undoubtedly I will misuse a word or
12    some technical term or some acronym that you
13    folks use every day in your business, so I would
14    ask you to just correct me or ask me to
15    clarify --
16          A.      Uh-huh.
17          Q.      -- any questions you think I might not
18    be getting the concept or might be asking an
19    unclear question.           I think it's in everyone's
20    interests to have clear questions so you can
21    answer them.
22                  MR. STERN:        Let me just point out the
23          reporter is noting your "uh-hum" comments.
24          So going forward, "yes" or "no."
25          Q.      Okay.       The reporter takes down -- can
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 68 of 240

                                                                                 Page 7
 1                          J. COGHLAN
 2    only take down verbal answers, so when you nod
 3    your head, she can't note that.
 4                  Can we start off briefly with your
 5    previous employment at Lehman Brothers?                     Were
 6    you an employee of LBI?
 7          A.      I was.
 8          Q.      Okay.       And could you tell me what your
 9    last position you held at LBI was.
10          A.      I worked in the prime broker.                 I was a
11    managing director and I was responsible for the
12    secured financing of the firm.
13          Q.      When you say "prime broker," is
14    that -- I see references in some of the
15    documents to Prime Services?
16          A.      Prime Services, yes.
17          Q.      Can you just explain to me what that
18    is?
19          A.      Prime Services has several businesses
20    within it.      From a -- the primary businesses or
21    the major businesses are financing businesses,
22    both in fixed income and equities.                   There is a
23    futures business resides in prime broker, where
24    there are fees for execution and settlement.
25    There is other execution and settlement activity
     08-13555-mg    Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14    Appendix
                                  Volume I Pg 69 of 240

                                                                                   Page 8
 1                           J. COGHLAN
 2    that goes on in prime brokerage relative to
 3    equity executions as well.                So the piece I was
 4    responsible for was the financing piece within
 5    the prime brokerage.
 6         Q.        Could you explain to me what that
 7    means?
 8         A.        Yes.    The firm basically has two types
 9    of assets that it needs to finance on a daily
10    basis.       It has assets that it owns as principal
11    that we have bought and put into our position.
12         Q.        Okay.
13         A.        Those trading decisions and those
14    positions are managed outside of the prime
15    brokerage business.             And within the prime
16    brokerage business there is a financing business
17    which basically does lending and borrowing of
18    money, collateralized normally by securities,
19    with the objective of making a spread in between
20    the borrowing and the lending on the money.                        So
21    that's the activity that I manage.
22         Q.        Okay.       And you have a team of folks
23    that work for you in that activity, I take it?
24         A.        Yes, I do.
25         Q.        And does that activity entail use of
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 70 of 240

                                                                                Page 9
 1                          J. COGHLAN
 2    repo transactions or repurchase transactions?
 3         A.       It does.
 4         Q.       So if we use the term "repo," you will
 5    understand what that means throughout this
 6    deposition?
 7         A.       Yes.
 8         Q.       And can you explain to me generally
 9    what a repo transaction is?
10         A.       Repo transaction is when I either --
11    well, when I lend money to a third party, I
12    normally do that by lending the money and they
13    will give me some sort of collateral to secure
14    that loan.
15         Q.       Right.
16         A.       Normally, the collateral that they
17    would post are relatively liquid marketable
18    securities.       Normally, I'm taking more
19    collateral than I'm lending money so I have some
20    sort of over collateralization protection, and
21    so that would be one leg of the transaction.
22                  Once I lend that money, I have to take
23    those securities and repledge them to someone
24    else who will give me money.               And so that is the
25    basic dynamic of a repo transaction.
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 71 of 240

                                                                                Page 10
 1                          J. COGHLAN
 2         Q.       And Lehman makes money by the
 3    difference in --
 4         A.       Where I borrow the money and when I
 5    loan the money.
 6                  MR. STERN:        Wait.     He has to finish
 7         the question.          Let's let him finish the
 8         question.
 9         Q.       I just want to understand.                The goal
10    of your department is to make money on these
11    seemingly opposite transactions, right?
12         A.       That's one of the objectives of the
13    department, yes.
14         Q.       So you say you were managing director
15    of this department?
16         A.       Yes.
17         Q.       Okay.       And how long have you held that
18    position?
19         A.       In that department, I believe it was
20    four years.
21         Q.       So roughly since 2004?
22         A.       I believe that's the date, yes.
23         Q.       And what was your position before
24    that?
25         A.       My position immediately before that is
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 72 of 240

                                                                                Page 11
 1                          J. COGHLAN
 2    I had a similar position running just the fixed
 3    income piece of repo.
 4         Q.       And how long --
 5         A.       Whereas this position included both
 6    fixed income, financing and equity financing.
 7         Q.       I gotcha.        And how long were you in
 8    charge of the fixed income piece of repo?
 9         A.       Probably since 1998, I believe.
10         Q.       Prior to that?
11         A.       What was I doing before that?
12         Q.       Yes.
13         A.       Before that, I was running the
14    Investment Grade and High Grade Division for
15    Lehman.
16         Q.       Did that involve repo transactions as
17    well?
18         A.       It did not.
19         Q.       How long have you worked for Lehman?
20         A.       I was there 27 years.
21         Q.       Okay, you started -- do you recall
22    what year you started?
23         A.       1981.
24         Q.       Okay.       The two positions that you just
25    discussed with me, are those the only positions
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 73 of 240

                                                                               Page 12
 1                          J. COGHLAN
 2    you held that involved repo transactions?
 3         A.       Yes.
 4         Q.       Is it fair to say --
 5         A.       Well, let me clarify.            I did have
 6    supervisory responsibility for a year of repo,
 7    but I can't recall the date.
 8         Q.       Okay.
 9         A.       It was in the mid '90s.             So I
10    supervised it for a period of time, moved on to
11    a different position, and then came back in
12    1998.
13         Q.       Fair to say you're very familiar with
14    repo transactions?
15         A.       Yes.
16         Q.       Among the senior management team at
17    Lehman, are you the guy they would usually go to
18    with a question about repo transactions if
19    something came up?
20         A.       I wouldn't be the only person because
21    there are other people that are familiar with
22    the repo business and there are other senior
23    people within it, but, you know, they would
24    obviously ask me questions at times.                   But not
25    exclusively.
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 74 of 240

                                                                                Page 13
 1                          J. COGHLAN
 2         Q.       Okay.       Now I just want to talk about
 3    the last position you held, which is the
 4    managing director position that you described.
 5    Who did you report to in that position?
 6         A.       I reported to John Wickham.
 7         Q.       Anyone else?
 8         A.       No.
 9         Q.       And who reported directly to you?
10         A.       Who reported directly?              In that
11    position, David Lohuis, John Nicholson, John
12    Feraca, Janet Hurley, Ian Maynard.
13         Q.       Are these folks traders?
14         A.       Yes.
15         Q.       So your department handles the trades
16    that are involved in effecting a repo
17    transaction, is that fair to say?
18         A.       Yes.
19         Q.       Can you explain to me the
20    difference --
21         A.       Well, repo and stock loan.                So the
22    normal phrase for fixed income financing
23    transactions is repo.             The normal phrase for
24    equity financing transactions is stock loan.
25         Q.       Okay.
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 75 of 240

                                                                                Page 14
 1                          J. COGHLAN
 2         A.       They both are financing transactions
 3    where we are lending money versus collateral and
 4    then relending the collateral to get the money.
 5         Q.       Okay.       Again, I'm not trying to
 6    mischaracterize.           Is it fair to say it's
 7    generally the same mechanics of the transaction,
 8    you just call it two different things for those
 9    two different types of securities?
10         A.       Yes.
11         Q.       Can you explain to me the difference
12    between what your department does and what Mr.
13    Blackwell's department does as they relate to
14    repo transactions?
15         A.       Well, I can describe what I do.                  What
16    I do is, as I said, I manage all the collateral
17    that needs to be financed both for the firm and
18    for the financing business --
19         Q.       Okay.
20         A.       -- in a way I just described, by
21    buying and borrowing and lending money.                     And,
22    you know, the kind of the settlement of those
23    transactions are handled by, you know, the
24    treasury.      And Alastair Blackwell has a group of
25    operations people that work with Treasury to
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 76 of 240

                                                                                Page 15
 1                       J. COGHLAN

 2   settle trades.

 3       Q.        When you say "settle trades," what

 4   does that mean?

 5       A.        To make sure that the securities go to

 6   where they're supposed to go and the cash goes

 7   to where it's supposed to go to, make sure all

 8   the securities and cash move to their proper

 9   locations.

10       Q.        I've heard the phrase "back office."

11   Is that what you would consider what you just

12   described?

13       A.        That's the phrase, yes, that would

14   describe it, yes.

15       Q.        Does your organization that you

16   head -- and again, I'm talking about your time

17   at Lehman.

18       A.        Uh-huh.

19   (The following portions have been removed due to their

20   Confidentiality designations:

21   Page 15, Line 19 through Page 18, Line 5 (Highly Confidential);

22   Page 18, Line 6 through Page 21, Line 19 (Confidential);

23   Page 21, Line 20 through Page 67, Line 15 (Highly Confidential);

24   Page 67, Line 16 through Page 72, Line 2 (Confidential);

25   Page 72, Line 3 through Page 105, Line 17 (Highly Confidential);
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 77 of 240

                                                                               Page 16
 1    Page 105, Line 18 through Page 111, Line 8 (Confidential);

 2    Page 111, Line 9 through Page 154, Line 7 (Highly Confidential);

 3    Page 154, Line 8 through Page 164, Line 20 (Confidential);

 4    Page 164, Line 21 through Page 228, Line 13 (Highly Confidential).

 5    Page 228, Line 14 through Page 234, Line 13 (Confidential);

 6    Page 234, Line 14 through Page 236, Line 7 (Highly Confidential);

 7    Page 236, Line 8 through Page 238, Line 16 (Confidential).

 8

 9

10

11

12

13

14

15    (Transcript continued on Pg. 238, Line 17)

16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 78 of 240

                                                                              Page 238
 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17                   (Time Noted:         3:11 P.M.)
18                                   oOo
19

20                                        ____________________
                                          JOHN COGHLAN
21

22           Subscribed and sworn to
             before me this               day
23           of                 2009.
24

             _______________________
25
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 79 of 240

                                                                               Page 239
 1                              J. COGHLAN
 2                               CERTIFICATE
 3          STATE OF NEW YORK )
                                        :   ss
 4          COUNTY OF NEW YORK)
 5                   I, Kathy S. Klepfer, a Registered
 6          Merit Reporter and Notary Public within and
 7          for the State of New York, do hereby
 8          certify:
 9                   That JOHN COGHLAN, the witness whose
10          deposition is herein before set forth, was
11          duly sworn by me and that such deposition is
12          a true record of the testimony given by such
13          witness.
14                   I further certify that I am not
15          related to any of the parties to this action
16          by blood or marriage and that I am in no way
17          interested in the outcome of this matter.
18                   I further certify that neither the
19          deponent nor a party requested a review of
20          the transcript pursuant to Federal Rule of
21          Civil Procedure 30(e) before the deposition
22          was completed.
23                   In witness whereof, I have hereunto
24          set my hand this 13th day of August, 2009.
25                              -------------------------------
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 80 of 240

                                                                               Page 240
 1                              J. COGHLAN
 2                                   INDEX
 3     TESTIMONY OF J. COGHLAN:                                               PAGE
 4     Examination by Mr. Hine              ...................                   5
 5     Examination by Mr. Stern ...................                             236
 6

 7     EXHIBITS:                                                              PAGE
 8     Exhibit 115, a document bearing Bates ......                              22
 9     Nos. BCI-EX-00077294 through 77295
10     Exhibit 116, a document bearing Bates ......                              72
11     Nos. 10303063
12     Exhibit 117, Master Purchase Agreement .....                              77
13     Exhibit 118, a document bearing Bates ......                              99
14     Nos. 10297296 and 10300641
15     Exhibit 119, a document bearing Bates ......                             102
16     Nos. 10302495
17     Exhibit 120, an e-mail string, the first ...                             110
18     one in time dated September 17, 2008, at
19     6:31 P.M.
20     Exhibit 121, an e-mail string, the first ...                             124
21     one in time dated September 17, 2008, at
22     6:25 P.M.
23     Exhibit 122, an e-mail string, the first ...                             126
24     one in time dated September 17, 2008 at
25     6:39 P.M.
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 81 of 240

                                                                               Page 241
 1                              J. COGHLAN
 2                          INDEX (Cont'd.)
 3     EXHIBITS:                                                              PAGE
 4     Exhibit 123, a document bearing Bates                     .....          128
 5     Nos. 68985
 6     Exhibit 124, a document bearing Bates                     .....          132
 7     Nos. 10303258
 8     Exhibit 125, covering e-mail with chart ....                             138
 9     with the heading "Booking Amounts"
10     Exhibit 126, an e-mail stream, the first ...                             178
11     one in time dated September 18, 2008,
12     at 6:18 A.M.
13     Exhibit 127, an e-mail stream, the first ...                             190
14     one in time dated September 18, 2008,
15     at 6:04 A.M.
16     Exhibit 128, an e-mail stream, the first ...                             199
17     in time dated September 19, 2008, at
18     2:44 P.M.
19     Exhibit 129, an e-mail stream, the first ...                             207
20     one in time dated September 19, 2008, at
21     2:26 P.M.
22     Exhibit 130, an e-mail dated September 19,                               211
23     2008, at 3:22 P.M.
24

25
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 82 of 240

                                                                               Page 242
 1                              J. COGHLAN
 2                          INDEX (Cont'd.)
 3     EXHIBITS:                                                              PAGE
 4     Exhibit 131, an e-mail stream, the first                      ...        214
 5     one in time dated September 19, 2008, at
 6     11:03 A.M.
 7     Exhibit 132, an e-mail stream, the first                      ...        216
 8     one in time dated September 20, 2008,
 9     at 5:43
10     Exhibit 133, a document bearing Bates .......                            224
11     Nos. BCI-EX-00079850 and 79849
12     Exhibit 134, MTS Blotter ....................                            229
13     Exhibit 135, screen shot from the MTS system                             233
14

15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 83 of 240

                                                                              Page 243
 1                     J. COGHLAN
 2     NAME OF CASE: In re Lehman Brothers
 3     DATE OF DEPOSITION: August 13, 2009
 4     NAME OF WITNESS: John Coghlan
 5     Reason Codes:
 6          1. To clarify the record.
            2. To conform to the facts.
 7          3. To correct transcription errors.
 8     Page ______ Line ______ Reason ______
       From _____________________ to _____________________
 9

       Page   ______ Line ______ Reason ______
10     From   _____________________ to _____________________
11     Page   ______ Line ______ Reason ______
       From   _____________________ to _____________________
12

       Page   ______ Line ______ Reason ______
13     From   _____________________ to _____________________
14     Page   ______ Line ______ Reason ______
       From   _____________________ to _____________________
15

       Page   ______ Line ______ Reason ______
16     From   _____________________ to _____________________
17     Page   ______ Line ______ Reason ______
       From   _____________________ to _____________________
18

       Page   ______ Line ______ Reason ______
19     From   _____________________ to _____________________
20     Page   ______ Line ______ Reason ______
       From   _____________________ to _____________________
21

       Page   ______ Line ______ Reason ______
22     From   _____________________ to _____________________
23     Page   ______ Line ______ Reason ______
       From   _____________________ to _____________________
24
25                                         __________________________
08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                           Volume I Pg 84 of 240




                             A. 6
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 85 of 240

                                                                                 Page 1
 1                                  A. COX
 2                 UNITED STATES BANKRUPTCY COURT
 3                 SOUTHERN DISTRICT OF NEW YORK
 4    ----------------------x
 5    In Re:
 6                                               Chapter 11
 7    LEHMAN BROTHERS                            Case No. 08-13555(JMP)
 8    HOLDINGS, INC., et al.,                    (Jointly Administered)
 9

                           Debtors.
10

      -----------------------x
11

12

13                  DEPOSITION OF ARCHIBALD COX
14                        New York, New York
15                        September 11, 2009
16

17

18

19

20

21

22

23    Reported by:
24    KATHY S. KLEPFER, RMR, RPR, CRR, CLR
25    JOB NO. 24300

                            TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 86 of 240

                                                                                Page 2
 1                                 A. COX
 2                       September 11, 2009
 3                              10:19 a.m.
 4

 5

 6          DEPOSITION of ARCHIBALD COX, held at
 7          the law offices of Jones Day, LLP,
 8          222 E. 41st Street, New York, New York,
 9          before Kathy S. Klepfer, a Registered
10          Professional Reporter, Registered Merit
11          Reporter, Certified Realtime Reporter,
12          Certified Livenote Reporter, and Notary
13          Public of the State of New York.
14

15

16

17

18

19

20

21

22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 87 of 240

                                                                                Page 3
 1                                 A. COX
 2

 3                    A P P E A R A N C E S:
 4    JONES DAY, LLP
 5    Attorneys for Lehman Brothers, Inc.
 6          222 East 41st Street
 7          New York, New York               10017-6702
 8    BY:   JAYANT W. TAMBE, ESQ.
 9          BART GREEN, ESQ.
10

11    BOIES, SCHILLER & FLEXNER, LLP
12    Attorneys for Barclays and the Witness
13          575 Lexington Avenue - 7th Floor
14          New York, New York               10022
15    BY:   JACK G. STERN, ESQ.
16

17

18

19

20

21

22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 88 of 240

                                                                                Page 4
 1                                 A. COX
 2           A P P E A R A N C E S:                   (Cont'd.)
 3    JENNER & BLOCK, LLP
 4    Attorneys for the Examiner
 5          330 N. Wabash Avenue
 6          Chicago, Illinois              60611-7603
 7    BY:   VINCENT LAZAR, ESQ.
 8

 9    QUINN, EMANUEL, URQUHART, OLIVER & HEDGES, LLP
10    Attorneys for the Creditors Committee
11          51 Madison Avenue
12          22nd Floor
13          New York, New York               10010
14    BY:   JAMES C. TECCE, ESQ.
15

16    HUGHES, HUBBARD & REED, LLP
17    Attorneys for the SIPA Trustee
18          1775 I Street, N.W.
19          Washington, D.C.             20006-2401
20    BY:   JOHN WOOD, ESQ.
21          FARA TABATABAI, ESQ. (Afternoon Session)
22

23    Also Present:
24          PHILIP E. KRUSE, Alvarez & Marsal
25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 89 of 240

                                                                                 Page 5
 1                                    A. COX
 2                 (the entire transcript has been removed
 3     due to its Highly Confidential designation:
 4     Page 5 Line 2 through Page 103 Line 9)
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                            TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 90 of 240

                                                                              Page 103
 1                                   A. COX
 2

 3

 4

 5

 6

 7

 8

 9

10                   (Time Noted:            1:34 P.M.)
11

12

13

14

15

16

17

18                                           ____________________
                                             ARCHIBALD COX
19

20           Subscribed and sworn to
             before me this                  day
21           of                 2009.
22

             _______________________
23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 91 of 240

                                                                               Page 104
 1                                   A. COX
 2                               CERTIFICATE
 3          STATE OF NEW YORK )
                                         :    ss
 4          COUNTY OF NEW YORK)
 5                   I, Kathy S. Klepfer, a Registered
 6          Merit Reporter and Notary Public within and
 7          for the State of New York, do hereby
 8          certify:
 9                   That ARCHIBALD COX, the witness whose
10          deposition is herein before set forth, was
11          duly sworn by me and that such deposition is
12          a true record of the testimony given by such
13          witness.
14                   I further certify that I am not
15          related to any of the parties to this action
16          by blood or marriage and that I am in no way
17          interested in the outcome of this matter.
18                   I further certify that neither the
19          deponent nor a party requested a review of
20          the transcript pursuant to Federal Rule of
21          Civil Procedure 30(e) before the deposition
22          was completed.
23                   In witness whereof, I have hereunto
            set my hand this 11th day of September,
24          2009.
25                              -------------------------------

                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14    Appendix
                                Volume I Pg 92 of 240

                                                                               Page 105
 1                                   A. COX
 2                                   INDEX
 3     WITNESS:                      EXAMINATION BY                        PAGE
 4     A. COX                        Mr. Tambe                                5
 5                                   Mr. Wood                                83
 6                                   Mr. Tecce                               97
 7     EXHIBITS:                                                           PAGE
 8     Exhibit 413B, a document bearing Bates Nos.                           29
 9     BCI-EX-(S)-26269
10     Exhibit 414B, a document bearing Bates Nos.                           31
11     BCI-EX-115878 115879
12     Exhibit 415B, a document bearing Bates Nos.                           36
13     BCI-EX-115964 through 115972
14     Exhibit 416B, a document bearing Bates Nos.                           49
15     BCI-EX-116023 through 116030
16     Exhibit 417B, a document bearing Bates Nos.                           50
17     BCI-EX-115898 through 115900
18     Exhibit 418B, a document bearing Bates Nos.                           62
19     BCI-EX-79546
20     Exhibit 419B, a document bearing Bates Nos.                           66
21     BCI-EX-79067
22     Exhibit 420B, a document bearing Bates Nos.                           79
23     BCI-EX-80849
24     Exhibit 421B, a document bearing Bates Nos.                           90
25     BCI-EX-81179

                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14    Appendix
                                Volume I Pg 93 of 240

                                                                               Page 106
 1                                   A. COX
 2                          INDEX (Cont'd.)
 3     EXHIBITS:                                                           PAGE
 4     Exhibit 422B, a document bearing Bates Nos.                           92
 5     BCI-EX-81116
 6     Exhibit 423B, a transcript from the United                            94
 7     States Bankruptcy Court on September 19, 2008
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 94 of 240

                                                                              Page 107
 1                         A. COX
 2     NAME OF CASE: In re Lehman Brothers Holdings, Inc.
 3     DATE OF DEPOSITION: September 11, 2009
 4     NAME OF WITNESS: Archibald Cox
 5     Reason Codes:
 6          1. To clarify the record.
            2. To conform to the facts.
 7          3. To correct transcription errors.
 8     Page ______ Line ______ Reason ______
       From _____________________ to _____________________
 9

       Page   ______ Line ______ Reason ______
10     From   _____________________ to _____________________
11     Page   ______ Line ______ Reason ______
       From   _____________________ to _____________________
12

       Page   ______ Line ______ Reason ______
13     From   _____________________ to _____________________
14     Page   ______ Line ______ Reason ______
       From   _____________________ to _____________________
15

       Page   ______ Line ______ Reason ______
16     From   _____________________ to _____________________
17     Page   ______ Line ______ Reason ______
       From   _____________________ to _____________________
18

       Page   ______ Line ______ Reason ______
19     From   _____________________ to _____________________
20     Page   ______ Line ______ Reason ______
       From   _____________________ to _____________________
21

       Page   ______ Line ______ Reason ______
22     From   _____________________ to _____________________
23     Page   ______ Line ______ Reason ______
       From   _____________________ to _____________________
24
25                                            __________________________

                           TSG Reporting - Worldwide (877) 702-9580
08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                           Volume I Pg 95 of 240




                             A. 7
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 96 of 240

                                                                                Page 1
 1

 2                  UNITED STATES BANKRUPTCY COURT
 3                   SOUTHERN DISTRICT OF NEW YORK
 4    ------------------------x
 5    In Re:
 6                                        Chapter 11
 7    LEHMAN BROTHERS                     Case No. 08-13555(JMP)
 8    HOLDINGS, INC., et al,              (Jointly Administered)
 9                        Debtors.
10    -------------------------x
11

12

13                    DEPOSITION OF NANCY DENIG
14                          New York, New York
15                              August 21, 2009
16

17    Reported by:
18    MARY F. BOWMAN, RPR, CRR
19    JOB NO. 24044
20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 97 of 240

                                                                                Page 2
 1

 2

 3

 4

 5                                     August 21, 2009
 6                                     9:35 a.m.
 7

 8

 9                   Deposition of NANCY DENIG, held at
10    the offices of Jones Day, LLP, 222 East 41st
11    Street, New York, New York, before Mary F.
12    Bowman, a Registered Professional Reporter,
13    Certified Realtime Reporter, and Notary Public
14    of the State of New York.
15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 98 of 240

                                                                                Page 3
 1

 2                               APPEARANCES:
 3    JONES DAY, LLP
 4    Attorneys for Lehman Brothers, Inc.
 5          222 East 41st Street
 6          New York, New York             10017-6702
 7    BY:   WILLIAM J. HINE, ESQ.
 8          GEORGE E. SPENCER, ESQ.
 9

10    BOIES, SCHILLER & FLEXNER, LLP
11    Attorneys for Barclays and The Witness
12          5301 Wisconsin Ave. NW
13          Washington, DC 20015
14    BY:   JONATHAN M. SHAW, ESQ.
15

16    QUINN, EMANUEL, URQUHART, OLIVER & HEDGES, LLP
17    Attorneys for the Creditors Committee
18          51 Madison Avenue
19          New York, New York            10010
20    BY:   ROBERT K. DAKIS, ESQ.
21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 99 of 240

                                                                                Page 4
 1

 2

 3    JENNER & BLOCK, LLC
 4    Attorneys for the Examiner
 5          330 N. Wabash Avenue
 6          Chicago, Illinois             60611-7603
 7    BY:   DAVID C. LAYDEN, ESQ.
 8

 9    HUGHES, HUBBARD & REED, LLP
10    Attorneys for the SIPA Trustee
11          One Battery Park Plaza
12          New York, New York             10004-1482
13    BY:   NEIL J. OXFORD, ESQ.
14          FARA TABATABAI, ESQ.
15

16    Also Present:
17          RAJESH ANKALKOTI, Alvarez & Marsal
18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 100 of 240

                                                                                Page 5
 1

 2

 3

 4

 5                    IT IS HEREBY STIPULATED AND AGREED, by
 6           and between the attorneys for the respective
 7           parties herein, that filing and sealing be
 8           and the same are hereby waived.
 9                    IT IS FURTHER STIPULATED AND AGREED
10           that all objections, except as to the form
11           of the question, shall be reserved to the
12           time of the trial.
13

14

15                    IT IS FURTHER STIPULATED AND AGREED
16           that the within deposition may be sworn to
17           and signed before any officer authorized to
18           administer an oath, with the same force and
19           effect as if signed and sworn to before the
20           Court.
21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 101 of 240

                                                                                Page 6
 1                                DENIG
 2    NANCY DENIG,
 3          called as a witness by the parties,
 4          having been duly sworn, testified as
 5          follows:
 6    EXAMINATION BY
 7    MR. HINE:
 8           Q.       Good morning, Ms. Denig.               How are you?
 9           A.       Good.
10           Q.       I introduced myself before, but my
11    name is Bill Hine.          I am from the firm of Jones
12    Day, which is special counsel to Lehman Brothers
13    Holdings, Inc. in connection with all the
14    bankruptcy proceedings that are going on.
15                    So your deposition today is in
16    connection with those proceedings and some
17    discovery that we are taking in those proceedings.
18    Have you ever been deposed before?
19           A.       I have not.
20           Q.       Very simple.         I am going to ask you a
21    bunch of questions.           You are under oath, you are
22    going to give me truthful answers.
23                    On occasion your counsel will raise an
24    objection or interpose an objection.                   He is either
25    doing that for any number of reasons, but I just
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 102 of 240

                                                                                Page 7
 1                                  DENIG
 2    wanted to let you know that it doesn't relieve you
 3    of the obligation to answer the question.                     You
 4    still have to answer the question, unless of
 5    course your counsel instructs you not to answer
 6    the question, which he may do on occasion as well.
 7                    I think all the other counsel around
 8    the table will introduce themselves as they get up
 9    to ask you questions, if they have any, but if you
10    have any questions -- unless you have any
11    questions, we can get started.
12                    One point of clarification before we
13    get started.       I see e-mails addressed to N. Bayne.
14    Is that you?
15           A.       That is my maiden name.
16           Q.       So if I see --
17           A.       Unfortunately when you were at Lehman,
18    when I got married -- my user profile before I got
19    married was N. Bayne, which was my maiden name.
20    When I got married, in order for them to change
21    the user name, they would have had to delete me
22    from the system altogether and I would have to
23    reapply for all my applications, which I didn't
24    want to do because I was already four years into
25    the company, so I left my user name as N. Bayne.
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 103 of 240

                                                                                 Page 8
 1                                   DENIG
 2           Q.       If I see an e-mail addressed to
 3    N. Bayne at Lehman --
 4           A.       That's me.
 5           Q.       Could you tell me how long you worked
 6    for Lehman?
 7           A.       15 years.
 8           Q.       So that's starting in --
 9           A.       1994, January 20.
10           Q.       OK.       And could you kind of briefly
11    walk me through the progressions of positions you
12    held up until the end?
13           A.       I started as an analyst in customer
14    service, which dealt with like trade discrepancies
15    for fixed income products.
16                    Moved to P&L in the finance division,
17    where I supported the repo desk for central
18    funding for all types of fixed income assets.
19                    I then took on various different
20    groups throughout the life, sales support, trade
21    support, P&L, structured repo, EMG, trade and
22    sales support, and probably that was pretty much
23    it.   So I pretty much stayed on the fixed income
24    side pretty much all my career.
25           Q.       What was the last position you held?
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 104 of 240

                                                                                Page 9
 1                                  DENIG
 2           A.       Last position, regional head for fixed
 3    income repo, middle office, so that was trade
 4    support, so we supported the traders in the daily
 5    transactions that they executed.
 6                    We did sales support, which also
 7    supported any trade confirmations, sales
 8    confirmations, trade discrepancies with regards to
 9    the salespeople.
10                    We did -- we reported the P&L to the
11    business lines, and, you know, some various little
12    odds and ends, but nothing that needs to be
13    clarified.
14           Q.       Who did you report to in that
15    position?
16           A.       Jim Hraska.
17           Q.       Any other people that you reported to
18    directly?
19           A.       No.
20           Q.       How long have you held this position?
21           A.       Three years of all that.               I just kept
22    getting more stuff added to me as my career
23    progressed.       So I started with one group and got
24    another one, another, another, another.                    But
25    basically all in the same business line.
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 105 of 240

                                                                               Page 10
 1                                  DENIG
 2           Q.       So the description you just gave me of
 3    your job --
 4           A.       With everything was about three years
 5    that I had that.
 6           Q.       For about three years?
 7           A.       Yeah.
 8           Q.       And who reported directly to you in
 9    the last three-year period?
10           A.       Carroll Schirmacher, Anthony
11    D'Agostino, Anthony Rivera, who was -- job
12    elimination at some point during the layoffs at
13    Lehman Brothers, Tom Rogers and Dave Regan.                      And
14    that was pretty much it.
15           Q.       I believe you said, you mentioned the
16    phrase "repo" in your description of your job.
17    Could you just -- did you focus primarily on
18    repurchase transactions?
19           A.       Yes.      As it related -- well, I
20    wouldn't say repo transactions.                The desk was
21    defined that we supported as the repo desk, but
22    they had different facets of the business.                     They
23    had a business -- they did plain vanilla swaps.
24    They did outright trades.              They did other
25    disciplines.
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 106 of 240

                                                                               Page 11
 1                               DENIG

 2                 But for the most part, the name of the

 3   department was the financing desk that dealt with

 4   repos.

 5         (The following portions have been removed due to their

 6   Confidentiality designations:

 7   Page 11, Line 5 through Page 20, Line 14 (Highly Confidential);

 8   Page 20, Line 15 through Page 30, Line 4 (Confidential);

 9   Page 30, Line 5 through Page 154, Line 20 (Highly Confidential);

10   Page 154, Line 21 through Page 156, Line 15 (Confidential);

11   Page 156, Line 16 through Page 181, Line 21 (Highly Confidential);

12   Page 181, Line 22 through Page 184, Line 16 (Confidential); and

13   Page 184, Line 17 through Page 264, Line 4 (Highly Confidential).

14

15

16

17        (The Transcript is continued on Pg. 265, Line 5)

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 107 of 240

                                                                              Page 264
 1                                  DENIG
 2

 3

 4

 5                    (Time noted:         3:55 p.m.)
 6

                                    ____________________
 7                                  NANCY DENIG
 8

 9          Subscribed and sworn to
10          before me this              day
11          of        , 2009.
12

13          _______________________
14

15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 108 of 240

                                                                               Page 265
 1                              DENIG - CONFIDENTIAL
 2

 3                                 CERTIFICATE
 4           STATE OF NEW YORK )
 5                                       )ss:
 6           COUNTY OF NEW YORK)
 7                    I, MARY F. BOWMAN, a Registered
 8           Professional Reporter, Certified Realtime
 9           Reporter, and Notary Public within and for
10           the State of New York, do hereby certify:
11                    That NANCY DENIG, the witness whose
12           deposition is hereinbefore set forth, was
13           duly sworn by me and that such deposition is
14           a true record of the testimony given by such
15           witness.
16                    I further certify that I am not
17           related to any of the parties to this action
18           by blood or marriage and that I am in no way
19           interested in the outcome of this matter.
20                    In witness whereof, I have hereunto
21           set my hand this 21st day of August, 2009.
22

23                                   __________________________
                                      MARY F. BOWMAN, RPR, CRR
24

25
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 109 of 240

                                                                               Page 266
 1                              DENIG - CONFIDENTIAL
 2
 3                                   INDEX:
 4    WITNESS                     EXAM BY:                         PAGE:
 5    N. Denig                    Mr. Hine                        6, 250
 6                                Mr. Oxford                        189
 7                                Mr. Dakis                         244
 8
 9                                   EXHIBITS
10    Exhibit No.                                                       Marked
11    Exhibit 232 document Bates stamped                                    44
                  10303555, two pages,
12    Exhibit 233 screen shot                                                 84
      Exhibit 234 document Bates stamped                                      93
13                10331692 with attachment
      Exhibit 235 document Bates stamped                                      96
14                10253250 with attachment
      Exhibit 236 document Bates stamped                                     103
15                10328102 with attachment
      Exhibit 237 document Bates stamped                                     108
16                10252914 with attachment
      Exhibit 238 document Bates stamped                                     115
17                BCI-EX4324 with attachment
      Exhibit 239 document Bates stamped                                     118
18                BCI-EX13384 through 86
      Exhibit 240 document Bates stamped                                     124
19                BCI-EX18553 with attachment
      Exhibit 241 document Bates stamped                                     125
20                BCI-EX17607 and 08 with
                  attachment
21    Exhibit 242 document Bates stamped                                     129
                  BCI-EX17576
22    Exhibit 243 e-mail dated September 19,                                 137
                  2008 at 1:43 a.m.
23    Exhibit 244 document Bates stamped                                     147
                  BCI-EX18095
24    Exhibit 245 document Bates stamped                                     159
                  BCI-EX99802 through 807 and
25                862 through 865
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 110 of 240

                                                                              Page 267
 1                         DENIG - CONFIDENTIAL
 2                             EXHIBITS
 3   Exhibit No.                                                  Marked
 4   Exhibit 246 document Bates stamped                              165
                 BCI-EX108184 through 189
 5   Exhibit 247 document Bates stamped                               166
                 BCI-EX108708
 6   Exhibit 248 document Bates stamped                               171
                 BCI-EX00107848 through 939
 7   Exhibit 249 document Bates stamped                               174
                 BCI-EX99522 through 532
 8   Exhibit 250 document Bates stamped                               180
                 10328232
 9   Exhibit 251 document Bates stamped                               181
                 102378755 (7 pages)
10   Exhibit 252 document Bates stamped                               186
                 10302702
11   Exhibit 253 document Bates stamped                               198
                 BCI-EX-S-00018190 through 191
12   Exhibit 254 document Bates stamped                               201
                 BCI-EX-S-18206 with attachment
13   Exhibit 255 document Bates stamped                               205
                 BCI-EX-S 18278 through 79 with
14               attachment
     Exhibit 256 document Bates stamped                               210
15               BCI-EX-S-18241
     Exhibit 257 document Bates stamped                               218
16               BCI-EX-S-18293 through 294,
                 with attachment,
17   Exhibit 258 document Bates stamped                               227
                 BCI-EX-S 16935, with
18               attachment,
     Exhibit 259 document Bates stamped                               228
19               BCI-EX-S18485 through 486
     Exhibit 260 document Bates stamped                               231
20               BCI-EX-S-18577 through 78
     Exhibit 261 document Bates stamped                               233
21               BCI-EX-S-18505 and 06 with
                 attachment
22   Exhibit 262 document Bates stamped                               251
                 74-636.XLS
23   Exhibit 263 e-mail dated September 19,                           256
                 2008 at 4:26 p.m.
24
25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 111 of 240

                                                                              Page 268
 1    NAME OF CASE:
 2    DATE OF DEPOSITION:
 3    NAME OF WITNESS:
 4    Reason Codes:
 5          1.     To clarify the record.
 6          2.     To conform to the facts.
 7          3.     To correct transcription errors.
 8    Page ______ Line ______ Reason ______
 9    From _____________________ to _____________________
10    Page ______ Line ______ Reason ______
11    From _____________________ to _____________________
12    Page ______ Line ______ Reason ______
13    From _____________________ to _____________________
14    Page ______ Line ______ Reason ______
15    From _____________________ to _____________________
16    Page ______ Line ______ Reason ______
17    From _____________________ to _____________________
18    Page ______ Line ______ Reason ______
19    From _____________________ to _____________________
20    Page ______ Line ______ Reason ______
21    From _____________________ to _____________________
22    Page ______ Line ______ Reason ______
23    From _____________________ to _____________________
24                                             ______________________
25
08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                           Volume I Pg 112 of 240




                             A. 8
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 113 of 240

                                                                                Page 1
 1

 2                  UNITED STATES BANKRUPTCY COURT
 3                   SOUTHERN DISTRICT OF NEW YORK
 4    ------------------------x
 5    In Re:
 6                                           Chapter 11
 7    LEHMAN BROTHERS                        Case No. 08-13555(JMP)
 8    HOLDINGS, INC., et al,                 (Jointly Administered)
 9                        Debtors.
10    -------------------------x
11

12

13          DEPOSITION OF ROBERT EDWARD DIAMOND, JR.
14                          New York, New York
15                          September 11, 2009
16

17    Reported by:
18    MARY F. BOWMAN, RPR, CRR
19    JOB NO. 24378
20

21

22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 114 of 240

                                                                                Page 2
 1

 2

 3

 4

 5                                       September 11, 2009
 6                                       10:35 a.m.
 7

 8

 9                   Deposition of ROBERT DIAMOND, held
10    at the offices of Jones Day, LLP, 222 East 41st
11    Street, New York, New York, before Mary F.
12    Bowman, a Registered Professional Reporter,
13    Certified Realtime Reporter, and Notary Public
14    of the State of New York.
15

16

17

18

19

20

21

22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 115 of 240

                                                                                Page 3
 1

 2                               APPEARANCES:
 3    JONES DAY, LLP
 4    Attorneys for Lehman Brothers, Inc.
 5          222 East 41st Street
 6          New York, New York                10017-6702
 7    BY:   ROBERT GAFFEY, ESQ.
 8          BRIDGET CRAWFORD, ESQ.
 9

10    BOIES, SCHILLER & FLEXNER, LLP
11    Attorneys for Barclays and The Witness
12          5301 Wisconsin Avenue, NW
13          Washington, DC             20015
14    BY:   HAMISH HUME, ESQ.
15          JONATHAN SCHILLER, ESQ.
16

17    QUINN, EMANUEL, URQUHART, OLIVER & HEDGES, LLP
18    Attorneys for the Creditors Committee
19          51 Madison Avenue
20          New York, New York                10010
21    BY:   ROBERT DAKIS, ESQ.
22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 116 of 240

                                                                                Page 4
 1

 2                               APPEARANCES:
 3    JENNER & BLOCK, LLC
 4    Attorneys for the Examiner
 5          330 N. Wabash Avenue
 6          Chicago, Illinois                60611-7603
 7    BY:   DAVID C. LAYDEN, ESQ.
 8

 9    HUGHES, HUBBARD & REED, LLP
10    Attorneys for the SIPA Trustee
11          One Battery Park Plaza
12          New York, New York                10004-1482
13    BY:   WILLIAM MAGUIRE, ESQ.
14          FARA TABATABAI, ESQ
15

16    Also Present:
17          THOMAS E. HOMMEL, ESQ.
18                 Lehman Brothers Holdings
19

20

21

22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 117 of 240

                                                                                Page 5
 1

 2

 3

 4

 5                    IT IS HEREBY STIPULATED AND AGREED, by
 6           and between the attorneys for the respective
 7           parties herein, that filing and sealing be
 8           and the same are hereby waived.
 9                    IT IS FURTHER STIPULATED AND AGREED
10           that all objections, except as to the form
11           of the question, shall be reserved to the
12           time of the trial.
13

14

15                    IT IS FURTHER STIPULATED AND AGREED
16           that the within deposition may be sworn to
17           and signed before any officer authorized to
18           administer an oath, with the same force and
19           effect as if signed and sworn to before the
20           Court.
21

22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 118 of 240

                                                                                Page 6
 1                                       DIAMOND
 2           (The entire transcript has been removed due
 3     to its Highly Confidential designation: Page 6
 4     Line 2 through Page 238, Line 9)
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 119 of 240

                                                                              Page 238
 1                                       DIAMOND
 2

 3

 4

 5

 6

 7

 8

 9

10                      (Time noted:            4:18 p.m.)
11

12                                     ____________________
13                                     ROBERT EDWARD DIAMOND, JR.
14           Subscribed and sworn to
15           before me this                   day
16           of September, 2009.
17

18           _______________________
19

20

21

22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14         Appendix
                                Volume I Pg 120 of 240

                                                                                    Page 239
 1                                       DIAMOND
 2                                       INDEX:
 3     WITNESS                     EXAM BY:                               PAGE:
 4     R. Diamond                  Mr. Gaffey                                6
 5                                 Mr. Maguire                             185
 6                                 Mr. Dakis                               233
 7

 8                                     EXHIBITS
 9     Exhibit No.                                               Marked
10     Exhibit 412-A Document Bates stamped                                        153
11                        BCI-EX-S 25413
12     Exhibit 413-A Document Bates stamped                                        164
13                        BCI-EX-S 79546
14

15

16

17

18

19

20

21

22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 121 of 240

                                                                              Page 240
 1                                       DIAMOND
 2

 3                                   CERTIFICATE
 4             STATE OF NEW YORK )
 5                                           )ss:
 6             COUNTY OF NEW YORK)
 7                      I, MARY F. BOWMAN, a Registered
 8             Professional Reporter, Certified Realtime
 9             Reporter, and Notary Public within and for
10             the State of New York, do hereby certify:
11                      That ROBERT EDWARD DIAMOND, JR., the
12             witness whose deposition is hereinbefore set
13             forth, was duly sworn by me and that such
14             deposition is a true record of the testimony
15             given by such witness.
16                      I further certify that I am not
17             related to any of the parties to this action
18             by blood or marriage and that I am in no way
19             interested in the outcome of this matter.
20                      In witness whereof, I have hereunto
21             set my hand this 11th day of September,
22             2009.
23

24                                     __________________________
                                         MARY F. BOWMAN, RPR, CRR
25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 122 of 240

                                                                              Page 241
 1                           DIAMOND
 2                   * * *ERRATA SHEET* * *
 3     NAME OF CASE: In Re: Lehman
 4     DATE OF DEPOSITION: 9/11/09
 5     NAME OF WITNESS: ROBERT EDWARD DIAMOND, JR.
 6     Reason codes:
 7         1. To clarify the record.
           2. To conform to the facts.
 8         3. To correct transcription errors.
 9
10     Page ____ Line ____ Reason____
       From ___________________ to_________________
11
12     Page ____ Line ____ Reason____
       From ___________________ to_________________
13
14     Page ____ Line ____ Reason____
       From ___________________ to_________________
15
16     Page ____ Line ____ Reason____
       From ___________________ to_________________
17
18     Page ____ Line ____ Reason____
       From ___________________ to_________________
19
20     Page ____ Line ____ Reason____
       From ___________________ to_________________
21
22     Page ____ Line ____ Reason____
       From ___________________ to_________________
23
24                                        _______________________
                                       ROBERT EDWARD DIAMOND, JR.
25


                           TSG Reporting - Worldwide (877) 702-9580
08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                           Volume I Pg 123 of 240




                             A. 9
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 124 of 240

                                                                                Page 1
 1

 2           UNITED STATES BANKRUPTCY COURT
 3           SOUTHERN DISTRICT OF NEW YORK
 4    -------------------------------x
      In Re:                                     Chapter 11
 5    LEHMAN BROTHERS                            Case No. 08-13555 (JMP)
      HOLDINGS, INC., et al.,                    (Jointly Administered)
 6    -------------------------------)
 7

 8

 9                 DEPOSITION OF PAUL EXALL
10                      New York, New York
11                 Thursday, August 27, 2009
12

13

14

15

16

17

18

19

20    Reported by:
      FRANCIS X. FREDERICK, CSR, RPR, RMR
21    JOB NO. 24380
22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 125 of 240

                                                                                Page 2
 1

 2

 3

 4

 5                    August 27, 2009
 6                    9:30 a.m.
 7

 8

 9

10           Deposition of PAUL EXALL, held at the offices
11           of Jones Day, 222 East 41st Street, New York, New
12           York, pursuant to Notice, before Francis
13           X. Frederick, a Certified Shorthand
14           Reporter, Registered Merit Reporter and
15           Notary Public of the States of New York
16           and New Jersey.
17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 126 of 240

                                                                                Page 3
 1

 2    A P P E A R A N C E S:
 3

 4           JONES DAY, LLP
 5           Attorneys for Lehman Brothers, Inc.
 6                    222 East 41st Street
 7                    New York, New York            10017-6702
 8           BY:      WILLIAM J. HINE, ESQ.
 9                    GEORGE E. SPENCER, ESQ.
10

11           BOIES SCHILLER & FLEXNER, LLP
12           Attorneys for Barclays Capital
13                    333 Main Street
14                    Armonk, New York           10504
15           BY:      CHRISTOPHER M. GREEN, ESQ.
16

17           HUGHES, HUBBARD & REED, LLP
18           Attorneys for the SIPA Trustee
19                    1175 I Street, N.W.
20                    Washington, D.C.           20006-2401
21           BY:      JOHN F. WOOD, ESQ.
22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 127 of 240

                                                                                Page 4
 1

 2    A P P E A R A N C E S:            (Cont'd.)
 3           JENNER & BLOCK, LLC
 4           Attorneys for the Examiner
 5                    330 N. Wabash Avenue
 6                    Chicago, Illinois           60611-7603
 7           BY:      VINCENT LAZAR, ESQ.
 8

 9

10    ALSO PRESENT:
11           INGRID M. CHRISTIAN, Alvarez & Marsal
12

13

14

15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 128 of 240

                                                                                Page 5
 1             (The entire transcript has been removed due
 2          to its Highly Confidential designation: Page 5,
 3          Line 1 through Page 257, Line 9)
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 129 of 240

                                                                              Page 257
 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11                      (Time Noted:              2:40 p.m.)
12

13

14

15

16

17

18

19                               ____________________
20                               PAUL EXALL
21

22     Subscribed and sworn to before me
23     this ___ day of __________, 2009.
24

25     _________________________________
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 130 of 240

                                                                              Page 258
 1

 2             C E R T I F I C A T E
 3     STATE OF NEW YORK             )
 4                                   : ss.
 5     COUNTY OF NEW YORK            )
 6                      I, FRANCIS X. FREDERICK, a Notary
 7             Public within and for the State of New
 8             York, do hereby certify:
 9                      That PAUL EXALL, the witness whose
10             deposition is hereinbefore set forth,
11             was duly sworn by me and that such
12             deposition is a true record of the
13             testimony given by the witness.
14                      I further certify that I am not
15             related to any of the parties to this
16             action by blood or marriage, and that I
17             am in no way interested in the outcome
18             of this matter.
19                      IN WITNESS WHEREOF, I have
20             hereunto set my hand this 27th day of
21             August, 2009.
22

23                                        _____________________
24                                        FRANCIS X. FREDERICK
25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 131 of 240

                                                                              Page 259
 1

 2     ----------------- I N D E X ------------------
 3     WITNESS                      EXAMINATION BY                  PAGE
 4     PAUL EXALL                   MR. HINE                        5
 5

 6

 7

 8

 9     ----------- INFORMATION REQUESTS -------------
10     DIRECTIONS:       NONE
11     RULINGS:      NONE
12     TO BE FURNISHED:          NONE
13     REQUESTS:      71, 188, 228
14     MOTIONS:      NONE
15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 132 of 240

                                                                              Page 260
 1

 2     ------------------ EXHIBITS ------------------
 3     EXHIBIT                                                  FOR ID.
 4     Exhibit 279B
 5     Debtors' First Rule 30(b)(6)
 6     Deposition Notice to Barclays
 7     on Issues Pertaining to Accrued
 8     08 FY Liability Under the
 9     Asset Purchase Agreement................ 5
10     Exhibit 280B
11     document bearing production
12     number BCI-EX-00077287................. 61
13     Exhibit 281B
14     document bearing production
15     number BCI-EX-00115843................. 61
16     Exhibit 282B
17     document bearing production
18     numbers BCI-EX-00113161
19     through BCI-EX-00113163................ 160
20     Exhibit 283B
21     document bearing production
22     number BCI-EX-00113194................. 170
23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 133 of 240

                                                                              Page 261
 1

 2     ------------------ EXHIBITS ------------------
 3     EXHIBIT                                                  FOR ID.
 4     Exhibit 284B
 5     document bearing production
 6     numbers BCI-EX-(S)00027190
 7     through BCI-EX-(S)00027197............. 172
 8     Exhibit 285B
 9     document bearing production
10     number BCI-EX-00077651................. 199
11     Exhibit 286B
12     document bearing production
13     number BCI-EX-00077621................. 199
14     Exhibit 287B
15     document bearing production
16     number BCI-EX-00077466................. 199
17     Exhibit 288B
18     document bearing production
19     numbers BCI-EX-(S)-00027258
20     through BCI-EX-(S)-00027265........... 239
21     Exhibit 289B
22     document bearing production
23     number BCI-EX-00077557................ 242
24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 134 of 240

                                                                              Page 262
 1

 2     ------------------ EXHIBITS ------------------
 3     EXHIBIT                                                  FOR ID.
 4     Exhibit 290B
 5     document bearing production
 6     numbers BCI-EX-00077542
 7     through BCI-EX-00077543............... 243
 8     Exhibit 291B
 9     document bearing production
10     numbers BCI-EX-00078069
11     through BCI-EX-00078071............... 246
12     Exhibit 292B
13     document bearing production
14     numbers 10267306
15     and 10238222.......................... 249
16     Exhibit 293B
17     Barclays PLC Results
18     Announcement 31st December 2008....... 253
19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 135 of 240

                                                                              Page 263
 1
 2             NAME OF CASE: IN RE: LEHMAN BROTHERS
 3             DATE OF DEPOSITION: AUGUST 27, 2009
 4             NAME OF WITNESS: PAUL EXALL
 5             Reason codes:
                     1. To clarify the record.
 6                   2. To conform to the facts.
                     3. To correct transcription errors.
 7             Page _______ Line ______ Reason _____
               From __________________ to _____________
 8

               Page   _______ Line ______ Reason _____
 9             From   __________________ to _____________
10             Page   _______ Line ______ Reason _____
               From   __________________ to _____________
11

               Page   _______ Line ______ Reason _____
12             From   __________________ to _____________
13             Page   _______ Line ______ Reason _____
               From   __________________ to _____________
14

               Page   _______ Line ______ Reason _____
15             From   __________________ to _____________
16             Page   _______ Line ______ Reason _____
               From   __________________ to _____________
17

               Page   _______ Line ______ Reason _____
18             From   __________________ to _____________
19             Page   _______ Line ______ Reason _____
               From   __________________ to _____________
20

               Page   _______ Line ______ Reason _____
21             From   __________________ to _____________
22             Page   _______ Line ______ Reason _____
               From   __________________ to _____________
23

                                 ____________________________
24

                                 PAUL EXALL
25
08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                           Volume I Pg 136 of 240




                           A. 10
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 137 of 240

                                                                                 Page 1
 1

 2                   UNITED STATES BANKRUPTCY COURT
 3                    SOUTHERN DISTRICT OF NEW YORK
 4    ------------------------x
 5    In Re:
 6                                         Chapter 11
 7    LEHMAN BROTHERS                      Case No. 08-13555(JMP)
 8    HOLDINGS, INC., et al,               (Jointly Administered)
 9                         Debtors.
10    -------------------------x
11

12

13                 DEPOSITION OF ERIC JONATHAN FELDER
14                           New York, New York
15                                July 31, 2009
16

17    Reported by:
18    MARY F. BOWMAN, RPR, CRR
19    JOB NO. 24018
20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 138 of 240

                                                                                Page 2
 1

 2

 3

 4

 5                                     July 31, 2009
 6                                     9:35 a.m.
 7

 8

 9                   Deposition of ERIC JONATHAN FELDER,
10    held at the offices of Jones Day, LLP, 222 East
11    41st Street, New York, New York, before Mary F.
12    Bowman, a Registered Professional Reporter,
13    Certified Realtime Reporter, and Notary Public
14    of the State of New York.
15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 139 of 240

                                                                                Page 3
 1

 2                               APPEARANCES:
 3    JONES DAY, LLP
 4    Attorneys for Lehman Brothers, Inc.
 5          222 East 41st Street
 6          New York, New York             10017-6702
 7    BY:   DAVID L. CARDEN, ESQ.
 8          KELLY CARRERO, ESQ.
 9          JENNIFER DEL MEDICO, ESQ.
10

11    BOIES, SCHILLER & FLEXNER, LLP
12    Attorneys for Barclays and The Witness
13          575 Lexington Avenue - 7th Floor
14          New York, New York             10022
15    BY:   JACK G. STERN, ESQ.
16

17    DEBEVOISE & PLIMPTON, LLP
18    Attorneys for The Witness
19          919 Third Avenue
20          New York, New York             10022
21    BY:   ANDREW J. CERESNEY, ESQ.
22          JULIE SUH, ESQ.
23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 140 of 240

                                                                                Page 4
 1

 2                               APPEARANCES:
 3

 4    QUINN, EMANUEL, URQUHART, OLIVER & HEDGES, LLP
 5    Attorneys for the Creditors Committee
 6          865 Figueroa Street, 10th Floor
 7          Los Angeles, California               90017
 8    BY:   ERICA P. TAGGART, ESQ.
 9

10    JENNER & BLOCK, LLC
11    Attorneys for the Examiner
12          330 N. Wabash Avenue
13          Chicago, Illinois             60611-7603
14    BY:   ROBERT L. BYMAN, ESQ.
15

16    HUGHES, HUBBARD & REED, LLP
17    Attorneys for the SIPA Trustee
18          One Battery Park Plaza
19          New York, New York             10004-1482
20    BY:   WILLIAM R. MAGUIRE, ESQ.
21          NEIL J. OXFORD, ESQ.
22

23    Also Present:
24          Rajesh Ankalkoti, Alvarez & Marsal
25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 141 of 240

                                                                                Page 5
 1

 2

 3

 4

 5                    IT IS HEREBY STIPULATED AND AGREED, by
 6           and between the attorneys for the respective
 7           parties herein, that filing and sealing be
 8           and the same are hereby waived.
 9                    IT IS FURTHER STIPULATED AND AGREED
10           that all objections, except as to the form
11           of the question, shall be reserved to the
12           time of the trial.
13                    IT IS FURTHER STIPULATED AND AGREED
14           that the within deposition may be sworn to
15           and signed before any officer authorized to
16           administer an oath, with the same force and
17           effect as if signed and sworn to before the
18           Court.
19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 142 of 240

                                                                                Page 6
 1                                   FELDER
 2    ERIC JONATHAN FELDER,
 3           called as a witness by the parties,
 4           having been duly sworn, testified as
 5           follows:
 6                    MR. CARDEN:         Good morning, Mr. Felder.
 7           My name is David Carden.               I represent the
 8           estate of Lehman Brothers, and I think what
 9           we ought to do is go around the table and
10           have everybody identify who they are before
11           we begin, and then, Jack, you have a
12           statement, right?
13                    MR. STERN:        Yes.
14                    MR. CARDEN:         I already introduced
15           myself.      My colleague, Kelly Carrero and
16           Jennifer Del Medico.
17                    MR. ANKALKOTI:          My name is Rajesh
18           Ankalkoti.         I am with Alvarez & Marsal.
19                    MS. TAGGART:         I'm Erica Taggart with
20           Quinn, Emanuel, Urquhart, Oliver & Hedges,
21           LLP, for the creditors committee.
22                    MR. MAGUIRE:         Bill Maguire and Neil
23           Oxford from Hughes, Hubbard & Reed for the
24           trustee.
25                    MR. BYMAN:        Robert Byman, Jenner &
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 143 of 240

                                                                                Page 7
 1                                   FELDER
 2           Block, on behalf of the examiner.
 3                    MS. SUH:       Julie Suh with Debevoise &
 4           Plimpton on behalf of the witness.
 5                    MR. CERESNY:         Andrew Ceresney from
 6           Debevoise representing Mr. Felder
 7           personally.
 8                    MR. STERN:        Jack Stern, Boies,
 9           Schiller & Flexner on behalf of Barclays
10           Capital and Mr. Felder.
11                    Before we begin the questioning, I
12           just want to state on the record, to avoid
13           time-consuming discussions of
14           confidentiality, we have a confidentiality
15           order in place.           What I would like to do is
16           make a general designation of, anything in
17           the record that should be treated as highly
18           confidential or confidential under the terms
19           of the confidentiality order will be so
20           designated automatically, and more
21           specifically, to the extent that there are
22           questions concerning Mr. Felder's personal
23           compensation, those are deemed highly
24           confidential under the confidentiality
25           order.
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 144 of 240

                                                                                Page 8
 1                                   FELDER
 2                    MR. CARDEN:         I don't think I have a
 3           problem with that.            I am wondering what you
 4           think the mechanism ought to be for those
 5           aspects which are not highly confidential
 6           and confidential, sort of getting out from
 7           underneath that designation?
 8                    MR. STERN:        I think the best way for
 9           us to deal with that is to address that
10           after the deposition off the record.
11                    MR. CARDEN:         Anybody have any issues
12           with that?
13                    MR. MAGUIRE:         Everything is considered
14           highly confidential until anybody sees the
15           need --
16                    MR. CARDEN:         I think Jack is concerned
17           that we don't slow things down.                  So long as
18           we have a mechanism that, and we can contest
19           the highly confidential designations in any
20           event, so long as we have a designation to
21           get out from underneath that rubric that is
22           not cumbersome, and so long as I have your
23           representation that all this is doing is to
24           sort of accommodate the speed of the
25           deposition and we will deal with this in
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 145 of 240

                                                                                Page 9
 1                                   FELDER
 2           good faith thereafter, I don't have a
 3           serious problem with it.
 4                    Does anyone else?
 5                    MS. TAGGART:         I don't have an
 6           objection, although it would be helpful if
 7           you would, right after the deposition, say
 8           the parts you thought were confidential and
 9           highly confidential, then we can deal with
10           it elsewhere.          It might be good to have that
11           specific.
12                    MR. STERN:        Understood.
13                    MR. CARDEN:         Maybe just to give it a
14           little rigor, unless there is some
15           particular cause for doing it otherwise,
16           shall we say sometime within a week you will
17           have written, having the page numbers of the
18           depositions and the exhibits and the like,
19           and designate what you think ought to be
20           highly confidential and confidential.
21           Therefore, we have a kind of a program, if
22           you will.
23                    MR. STERN:        I think that is fair, and
24           I think what Bill said makes sense as a
25           practical matter; designate the entire
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 146 of 240

                                                                               Page 10
 1                                   FELDER
 2           transcript as highly confidential, and
 3           within a week, we will dedesignate as
 4           appropriate under the order.
 5    EXAMINATION BY
 6    MR. CARDEN:
 7           Q.       Good morning, Mr. Felder.
 8           A.       Good morning.
 9           Q.       You are currently employed by
10    Barclays, correct?
11           A.       Correct.
12           Q.       What is your current position, sir?
13           A.       I'm the head of global credit trading.
14           Q.       And how long have you held that
15    position?
16           A.       Since September '08.
17           Q.       And as head of global trading, just
18    generally speaking, what are your
19    responsibilities?
20           A.       Responsible for secondary trading of
21    cash corporate bonds, credit default swaps, loans,
22    and the municipal securities business rolls into
23    credit.
24           Q.       Prior to being employed by Barclays,
25    you were cohead of fixed income at Lehman
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 147 of 240

                                                                               Page 11
 1                                   FELDER
 2    Brothers, correct?
 3           A.       Correct.
 4           Q.       Starting on September 9 or thereabouts
 5    of 2008?
 6           A.       I believe it was September 8.
 7           Q.       I am sorry, I meant that -- that's
 8    exactly what I meant to say actually.
 9                    Prior to that, what was your -- what
10    was your previous title and job?
11           A.       I was global head of global credit
12    products, since June of '08.
13           Q.       And in that position, what were your
14    responsibilities?
15           A.       The businesses that rolled up into
16    global credit products were high-grade, high-yield
17    CDOs, municipals, and the credit portion of
18    emerging markets, the corporate credit portion of
19    emerging markets.
20           Q.       In connection with your
21    responsibilities as global head of credit
22    products, did you have any responsibilities of any
23    kind with regard to repos?
24           A.       No.
25           Q.       And when you took over as head of
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 148 of 240

                                                                               Page 12
 1                                   FELDER
 2    fixed income on September 8, 2008, what were your
 3    responsibilities?
 4            A.      They were never specifically told to
 5    me.
 6            Q.      Did you have an understanding as to
 7    what they were to be?
 8            A.      We had -- I had a brief conversation
 9    with Mike Gelband, with Hyung Lee, who is my
10    cohead, about how the portfolio would be split up
11    between the two of us in a normal business
12    environment, and I was going to be responsible
13    for -- or focus on the credit portion and the
14    mortgage portion, and then Hyung would focus on FX
15    and commodities and more focus outside of the U.S.
16    with my focus in the U.S., because he came from
17    Asia.
18            Q.      I would like you to tell me what you
19    consider to have been in the fixed income area at
20    Lehman Brothers as of the time that you had that
21    conversation.
22            A.      In fixed income, you would have had
23    rates, commodities, foreign exchange, credit,
24    mortgages, emerging markets, and financing would
25    have been part of fixed income, or it might have
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 149 of 240

                                                                                Page 13
 1                                    FELDER
 2    been a JV with equity.             I don't know exactly how
 3    it was set up because you obviously finance more
 4    than just fixed-income product.                 And commercial
 5    real estate.
 6            Q.      I'm just going to read you a list of
 7    asset classes and if you tell me whether you
 8    consider them to have been in the fixed income
 9    area at Lehman as of September 2008.                    All right?
10    And I'm just reading now what legends I have been
11    given, so these might not be completely fulsome.
12                    CDs and other money market
13    instruments?
14            A.      Yes.
15            Q.      Total -- corporate obligations and
16    spot?
17            A.      I don't know what that means.
18            Q.      OK.       Corporate stocks and options?
19            A.      No.
20            Q.      Derivatives and other -- and it is cut
21    off so I can't -- it would have been some
22    derivative products.
23            A.      There would have been some, yeah.
24            Q.      Some.       OK.
25                    Governments and agencies would have
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 150 of 240

                                                                                Page 14
 1                                   FELDER
 2    been a fixed income, correct?
 3           A.       Correct.
 4           Q.       Mortgages and -- any mortgage-backed
 5    securities would have been as well, correct?
 6           A.       Correct.
 7           Q.       Now, when you had the conversation
 8    concerning how to divide the fixed income
 9    portfolio, was it -- it was divided along product
10    lines or asset classes as well as geography?
11           A.       That was the initial intention.                 It
12    was -- nothing was ever put into --
13           Q.       It never functioned?
14           A.       Because, you know, that week was
15    the -- when the firm ultimately went under.
16           Q.       Let's talk about that week.               We are
17    now talking about the week of -- I brought a
18    calendar so we have a, as I said before, a prop.
19    Why don't you avail yourself of it as you wish.                       I
20    don't see any need to mark it.               The dates are what
21    they are from time immemorial to the end of time.
22                    You were made the head of fixed income
23    on Monday, the 8th of September, correct?
24           A.       Correct.
25    (The Following portions have been removed due to their
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 151 of 240

                                                                               Page 15
 1    Confidentiality designations:

 2    Page 14, Line 25 through Page 38, Line 14 (Confidential);

 3    Page 38, Line 15 through Page 74, Line 10 (Highly Confidential);

 4    Page 74, Line 11 through Page 76, Line 19 (Confidential);

 5    Page 76, Line 20 through Page 79, Line 5 (Highly Confidential);

 6    Page 79, Line 8 through Page 81, Line 23 (Confidential);

 7    Page 81, Line 24 through Page 103, Line 20 (Highly Confidential);

 8    Page 104, Line 3 through Page 108, Line 22 (Confidential);

 9    Page 108, Line 23 through Page 117, Line 13 (Highly Confidential);

10    Page 118, Line 15 through Page 132, Line 23 (Highly Confidential).

11

12

13

14

15

16

17       (The transcript resumes on Pg. 103, line 21)

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 152 of 240

                                                                              Page 103
 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21                      MR. CARDEN:        I'm done.
22                                     _ _ _ _
23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 153 of 240

                                                                              Page 104
 1                              FELDER

 2    EXAMINATION BY

 3    MS. TAGGART:

 4     (The Following portions have been removed due to their

 5      Confidentiality designations

 6     Page 104, Line 4 through Page 108, Line 22 (Confidential);

 7    Page 108, Line 23 through Page 117, Line 13 (Highly Confidential);

 8

 9

10

11

12

13

14

15

16

17

18

19

20        (Transcript is continued on Pg. 117, Line 14)

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 154 of 240

                                                                              Page 117
 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14                      MS. TAGGART:         I don't have any more
15             questions.
16                      MR. MAGUIRE:         Mr. Felder, I don't have
17             any questions for you.             I would make a
18             request of your Barclays counsel that with
19             respect to Exhibit 11, which I believe you
20             were provided with, that makes a reference
21             to a Barclays lawyer coming in and making an
22             explanation.         I believe that's in the
23             context of the hearing, the proceedings
24             associated with the bankruptcy court hearing
25             on September 19.           I would ask that Barclays
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 155 of 240

                                                                              Page 118
 1                              FELDER

 2          provide us with the record of that

 3          explanation.

 4                 MR. STERN:     Are you suggesting there

 5          is something other than the transcript of

 6          the hearing?

 7                 MR. MAGUIRE:     If there is nothing

 8          other than the transcript, if you could

 9          confirm that, that would be fine.        If there

10          is anything other than the transcript, if

11          you could provide us with the record.

12                 MR. STERN:     Sure, we will definitely

13          look into that.

14                 MR. MAGUIRE:     Thank you.

15      (The Following portions has been removed due to it's

16       Highly Confidential Designation)

17      Page 118, Line 15 through Page 132, Line 23 (Highly Confidential)

18

19

20

21        (The Transcript is continued on Pg. 132, Line 24)

22

23

24

25
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 156 of 240

                                                                               Page 132
 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24             Q.        OK, thank you, sir.
25
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 157 of 240

                                                                               Page 133
 1                                      FELDER
 2     EXAMINATION BY
 3     MS. TAGGART:
 4             Q.        I will ask a couple of follow-up
 5     questions to this.
 6                       When you talk about the traders are
 7     the ones who put together marks, do they do that
 8     on a routine basis?
 9             A.        They mark their books every day.
10             Q.        And what's involved in marking the
11     books every day?
12             A.        For what type of a trader?
13             Q.        It varies from trade to trade?                 Let me
14     ask this:       Where do they put the information on a
15     daily basis, or did they at this time?
16             A.        Whatever the front office system of
17     that asset class is would be where the marks would
18     be put in.
19             Q.        When you say a front office system,
20     are you talking about a computerized database?
21             A.        An application.          There were different
22     applications for different products, that would
23     all feed into the middle office or the back office
24     of the firm.        So depending on what the product
25     was, whatever system that was used would be the --
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 158 of 240

                                                                               Page 134
 1                                      FELDER
 2     would be -- that is where they would put the
 3     prices into.
 4             Q.        When you talk about a system, a
 5     computerized system?
 6             A.        Computerized system.
 7             Q.        So every day traders would be entering
 8     marks for the securities that they were involved
 9     in on some sort of computer system; is that
10     correct?
11             A.        To my knowledge, that -- a computer
12     system was used in the products I knew.
13             Q.        Did you ever personally access on a
14     computer system daily marks?
15             A.        In risk systems, you can see -- you
16     can see the marks of securities.
17             Q.        How do you see them?
18             A.        On the computer screen.
19             Q.        Did the computer screen -- is there a
20     database that you remember, a name of a database
21     where you personally could go and access daily
22     marks?
23             A.        In -- within credit, our main risk
24     system was called ICE, I-C-E.                 And that
25     consolidated the derivative systems and the cash
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 159 of 240

                                                                               Page 135
 1                                      FELDER
 2     systems.
 3             Q.        Did marks ever change from the close
 4     of the market on Friday to the opening of the
 5     market on Mondays?
 6             A.        From the close on a Friday to the open
 7     on a Monday?
 8             Q.        Yes.
 9             A.        I don't think you could do -- I don't
10     think the system would let you -- you can get an
11     end-of-day mark, and then I don't think you could
12     go in and change -- as far as I know, you couldn't
13     go in and change a mark once it was committed for
14     that day until the mark for the next day.
15             Q.        In particular on the weekend of
16     September 19 -- from the close of the market on
17     September 19 to the opening of the market on
18     September 22, would there be any reason for any of
19     the marks from the credit business to change over
20     that weekend?
21             A.        Not that I would be aware of.
22             Q.        OK, that is all.
23                                      _ _ _ _
24

25
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 160 of 240

                                                                               Page 136
 1                                      FELDER
 2     EXAMINATION BY
 3     MR. BYMAN:
 4             Q.        I apologize.         Every time somebody asks
 5     a question, somebody else thinks of another
 6     question.
 7                       When the traders do their marks, and I
 8     understand, I think, that process, is there any
 9     other group such as the product control group that
10     does an independent analysis of where they think
11     certain assets should be valued?
12             A.        That would be done monthly, and there
13     would be variance reports.               I only know this
14     specifically within credit because I hadn't gone
15     through that process in the other asset classes.
16     So within credit, we had a monthly variance
17     meeting with product control to go through any
18     positions that they felt -- they got external data
19     from third parties and they compared the marks to
20     that external data, and then the desk heads would
21     sit down with product control, and then ultimately
22     I would sit down to make sure that the business
23     was properly marked from the product control --
24     from a -- essentially a third party's perspective.
25             Q.        So I want to make sure that I
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 161 of 240

                                                                               Page 137
 1                                      FELDER
 2     understand the process then.                So on a daily basis,
 3     the traders would mark the assets that they were
 4     responsible for.           On a monthly basis, product
 5     control would do its own evaluation.                    To the
 6     extent there was a variance, it would escalate to
 7     you, and you would decide who was right or whether
 8     it was someplace in the middle?
 9             A.        No.     The product controllers
10     ultimately had the -- you couldn't overrule a
11     product controller because they had the
12     third-party data.           So if they said this, this is
13     off, then the book just got marked down by where
14     it was.
15                       If there was a situation where -- if
16     there was a situation where there was other data
17     in the market that the product controllers didn't
18     have, for example, then --
19             Q.        You would reason with them, but you
20     couldn't overrule them?
21             A.        Right.      That was my experience within
22     credit.
23             Q.        And so far as you know, is that the
24     same system that other businesses use within
25     Lehman?
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 162 of 240

                                                                               Page 138
 1                                      FELDER
 2             A.        I don't know.
 3             Q.        How close to this monthly review by
 4     the product controllers would you do your sit down
 5     to look at the variance reports?                  Would that be
 6     done within a day or two?
 7             A.        It would usually take them a week or
 8     two to put it all together.
 9                       MR. BYMAN:        OK, thanks.
10                       MS. TAGGART:         I do have another.
11     EXAMINATION BY
12     MS. TAGGART:
13             Q.        Just who are the product controllers
14     that were at Lehman doing this process, the
15     monthly evaluation, prior to the sale?                     That you
16     know of.
17             A.        I just know Gilles within credit.
18     There is a whole product control function, and
19     they were set up by asset class, so I would assume
20     that there are product controllers for each asset
21     class.
22             Q.        OK.
23                       MR. CARDEN:        We have given you the
24             gift of time, Mr. Felder.
25                       THE WITNESS:         I sincerely appreciate
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 163 of 240

                                                                              Page 139
 1                                     FELDER
 2             it.
 3                      (Time Noted: 1:05 p.m.)
 4

 5                                   ____________________
                                     ERIC JONATHAN FELDER
 6

 7           Subscribed and sworn to
 8           before me this               day
 9           of July, 2009.
10

11           _______________________
12

13

14

15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 164 of 240

                                                                              Page 140
 1                                   FELDER
 2                                   INDEX:
 3     WITNESS                    EXAM BY:                      PAGE:
 4     E. Felder                  Mr. Carden                  10, 123
 5                                Ms. Taggart           104, 133, 138
 6                                Mr. Byman                  118, 136
 7                                  EXHIBITS
 8     Exhibit No.                        Marked
 9     Exhibit 1   asset purchase agreement dated                              47
                   September 16, 2008
10     Exhibit 2   e-mail with attachment dated                                53
                   September 18, 2008
11     Exhibit 3   document Bates stamped 1029780                              57
       Exhibit 4   e-mail dated September 19,                                  75
12                 2008 at 1:30 p.m.
       Exhibit 5   e-mail dated September 19,                                  75
13                 2008 at 10:34 a.m.
       Exhibit 6   document Bates stamped                                      76
14                 10242982
       Exhibit 7   document Bates stamped                                      81
15                 BCI-EX70957
       Exhibit 8   e-mail September 19, 2008 at                                82
16                 10:51 a.m. with attachment
       Exhibit 9   e-mail dated September 19,                                  83
17                 2008 at 2:06 p.m. with
                   attachment
18     Exhibit 10 e-mail dated September 17,                                   91
                   2008 at 12:34 p.m.
19     Exhibit 11 document Bates stamped                                       97
                   10284073
20     Exhibit 12 three-page letter dated                                      98
                   September 18, 2008
21     Exhibit 13 Letter dated September 21,                                   99
                   2008
22     Exhibit 14 document Bates stamped                                     101
                   10292661
23     Exhibit 15 document Bates stamped                                     109
                   BCI-EX30865 with attachment
24     Exhibit 16 e-mail dated September 18,                                 111
                   2008 at 12:23 p.m.
25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 165 of 240

                                                                              Page 141
 1                                     FELDER
 2

 3                                  CERTIFICATE
 4             STATE OF NEW YORK )
 5                                        )ss:
 6             COUNTY OF NEW YORK)
 7                      I, MARY F. BOWMAN, a Registered
 8             Professional Reporter, Certified Realtime
 9             Reporter, and Notary Public within and for
10             the State of New York, do hereby certify:
11                      That ERIC JONATHAN FELDER, the witness
12             whose deposition is hereinbefore set forth,
13             was duly sworn by me and that such
14             deposition is a true record of the testimony
15             given by such witness.
16                      I further certify that I am not
17             related to any of the parties to this action
18             by blood or marriage and that I am in no way
19             interested in the outcome of this matter.
20                      In witness whereof, I have hereunto
21             set my hand this 31st day of July, 2009.
22

23                                   __________________________
                                       MARY F. BOWMAN, RPR, CRR
24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 166 of 240

                                                                              Page 142
 1                           FELDER
 2                   * * *ERRATA SHEET* * *
 3     NAME OF CASE: In Re: Lehman Brothers
 4     DATE OF DEPOSITION: 7/31/09
 5     NAME OF WITNESS: ERIC JONATHAN FELDER
 6     Reason codes:
 7         1. To clarify the record.
           2. To conform to the facts.
 8         3. To correct transcription errors.
 9
10     Page ____ Line ____ Reason____
       From ___________________ to_________________
11
12     Page ____ Line ____ Reason____
       From ___________________ to_________________
13
14     Page ____ Line ____ Reason____
       From ___________________ to_________________
15
16     Page ____ Line ____ Reason____
       From ___________________ to_________________
17
18     Page ____ Line ____ Reason____
       From ___________________ to_________________
19
20     Page ____ Line ____ Reason____
       From ___________________ to_________________
21
22     Page ____ Line ____ Reason____
       From ___________________ to_________________
23
24                                        _______________________
                                          ERIC JONATHAN FELDER
25
08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                           Volume I Pg 167 of 240




                           A. 11
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 168 of 240

                                                                                 Page 1
 1

 2                 UNITED STATES BANKRUPTCY COURT
 3                 SOUTHERN DISTRICT OF NEW YORK
 4

 5    In re:                                )
                                            ) Chapter 11
 6    LEHMAN BROTHERS                       ) Case No. 08-13555(JMP)
                                            )
 7    HOLDINGS, INC., et al.,               )
                                            )
 8                       Debtors.           )
      --------------------------)
 9

10

11

12

13

14

15                              DEPOSITION OF
16                      DANIEL JOSEPH FLEMING
17                        New York, New York
18                    Friday, August 28, 2009
19

20

21

22

23    Reported by:
24    KRISTIN KOCH, RPR, RMR, CRR, CLR
25    JOB NO. 24123
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 169 of 240

                                                                                Page 2
 1

 2

 3

 4                               August 28, 2009
 5                               9:28 a.m.
 6

 7

 8

 9         Deposition of DANIEL JOSEPH FLEMING, held at the offices
10         of JONES DAY, LLP, 222 East 41st Street,
11         New York, New York, before Kristin Koch, a
12         Registered Professional Reporter,
13         Registered Merit Reporter, Certified
14         Realtime Reporter, Certified Livenote
15         Reporter and Notary Public of the State of
16         New York.
17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 170 of 240

                                                                                Page 3
 1

 2    A P P E A R A N C E S:
 3

 4

 5          JONES DAY, LLP
 6          Attorneys for Lehman Brothers, Inc.
 7                   222 East 41st Street
 8                   New York, New York 10017-6702
 9          BY:      BART GREEN, ESQ.
10                   KELLY A. CARRERO, ESQ.
11

12

13          BOIES, SCHILLER & FLEXNER, LLP
14          Attorneys for Barclays and Daniel Joseph
15          Fleming
16                   333 Main Street
17                   Armonk, New York 10504
18          BY:      CHRISTOPHER M. GREEN, ESQ.
19

20

21          QUINN EMANUEL URQUHART OLIVER & HEDGES LLP
22          Attorneys for Creditors Committee
23                   865 South Figueroa Street - 10th floor
24                   Los Angeles, California 90017
25          BY:      TYLER WHITMER, ESQ. (Via telephone)
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 171 of 240

                                                                                Page 4
 1

 2    A P P E A R A N C E S:            (Continued)
 3

 4

 5          JENNER & BLOCK LLP
 6          Attorneys for Examiner
 7                   330 North Wabash Avenue
 8                   Chicago, Illinois 60611-7603
 9          BY:      VINCENT LAZAR, ESQ.
10

11

12          HUGHES HUBBARD & REED LLP
13          Attorneys for SIPA Trustee
14                   One Battery Park Plaza
15                   New York, New York 10004-1482
16          BY:      SETH D. ROTHMAN, ESQ.
17                   AMINA HASSAN, ESQ.
18

19

20    ALSO PRESENT:
21

22          PHIL KRUSE, Alvarez & Marsal
23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 172 of 240

                                                                                Page 5
 1

 2                   IT IS HEREBY STIPULATED AND AGREED
 3          by and between the attorneys for the
 4          respective parties herein, that filing and
 5          sealing be and the same are hereby waived.
 6                   IT IS FURTHER STIPULATED AND AGREED
 7          that all objections, except as to the form
 8          of the question, shall be reserved to the
 9          time of the trial.
10                   IT IS FURTHER STIPULATED AND AGREED
11          that the within deposition may be sworn to
12          and signed before any officer authorized
13          to administer an oath, with the same
14          force and effect as if signed and sworn
15          to before the Court.
16

17

18

19

20                                     - oOo -
21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 173 of 240

                                                                                Page 6
 1

 2    D A N I E L        J O S E P H          F L E M I N G,
 3          called as a witness, having been duly sworn
 4          by a Notary Public, was examined and
 5          testified as follows:
 6    EXAMINATION BY
 7    MS. CARRERO:
 8          Q.        Good morning, Mr. Fleming.                My name
 9    is Kelly Carrero.          I am with Jones Day.            We are
10    special counsel to the estate of Lehman
11    Brothers Holding, Inc.            With me is my
12    colleague, Bart Green, and I will have everyone
13    else in the room introduce themselves on the
14    record.
15                   MR. ROTHMAN:         Seth Rothman, Hughes
16          Hubbard & Reed.          We represent the SIPA
17          trustee.
18                   MS. HASSAN:        Amina Hassan, Hughes,
19          Hubbard & Reed.
20                   MR. LAZAR:        Vince Lazar from
21          Jenner & Block.          We represent the Examiner
22          appointed in the Lehman Brothers case.
23                   MR. KRUSE:        Phil Kruse with
24          Alvarez & Marsal on behalf of LBHI.
25                   MR. C. GREEN:         Christopher Green
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 174 of 240

                                                                                Page 7
 1                                Fleming
 2          with Boies, Schiller & Flexner on behalf of
 3          Barclays Capital and the witness.
 4    BY MS. CARRERO:
 5          Q.       Mr. Fleming, have you been deposed
 6    before?
 7          A.       No.
 8          Q.       Then I will go over some background
 9    rules, housekeeping.           It will go easier and
10    smoother if when I ask a question you let me
11    finish the question before you start your
12    response and if you will give verbal answers
13    rather than any nods of the head so that the
14    court reporter can take down every word that
15    you say.
16                   If you need to take a break, if you
17    can wait until we find a reasonable place to
18    stop, just let me know, let your counsel know
19    and we will work with each other.
20          A.       Okay.
21          Q.       So if we could start with some
22    background information in terms of education,
23    work experience.          Let's start with your
24    educational experience.
25          A.       Education, I attended the University
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 175 of 240

                                                                                Page 8
 1                                Fleming
 2    of Hartford and St. John's University for
 3    approximately two and a half years.                  Did not
 4    graduate.      In terms of work experience, would
 5    you like me to start backwards?
 6          Q.       Start with your earliest work
 7    experience after you finished at University of
 8    Hartford and St. John's.
 9          A.       First employment was with EF Hutton
10    working in the mortgage-backed security
11    accounting group.
12                   I subsequently was hired by Shearson
13    Lehman Hutton, moved into their regulatory
14    group for a short period.
15                   I subsequently left and joined, I
16    believe, what was Chemical Bank, again, working
17    in mortgage-backed security accounting.
18                   Subsequent to that I left the
19    industry and worked out of industry as a
20    controller for a wholesale distributor out on
21    Long Island.
22                   Then I came back into the industry.
23    I worked for a firm named East Bridge Capital
24    and East Bridge Asset Management, which was --
25    East Bridge Capital was a primary dealer owned
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 176 of 240

                                                                                 Page 9
 1                              Fleming

 2   by Nippon Credit Bank.        In that space I worked

 3   in accounting for both the broker/dealer and

 4   for the asset management business.

 5                 Subsequent to that I worked at DE

 6   Shaw for a short while in their operations

 7   accounting group.

 8                 And then I moved over to Lehman

 9   Brothers in and around 1998 where I joined the

10   cash and collateral management team in New York

11   reporting in to at the time the U.S. head of

12   cash and collateral management.

13                 I subsequently took over the role of

14   U.S. head of cash and collateral management.

15                 Subsequent to that I was --

16         Q.      I'm sorry, if I could stop you

17   there.     What year are we talking that you

18   became U.S. head of cash and collateral

19   management?

20         A.      2001, 2002, thereabouts.

21   (The following portions have been removed due to their

22   Confidentiality designations:

23   Page 9, Line 21 through Page 34, Line 16 (Confidential);

24   Page 34, Line 17 through Page 78, Line 9 (Highly Confidential);

25   Page 78, Line 10 through Page 80, Line 10 (Confidential);
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 177 of 240

                                                                               Page 10
 1    Page 80, Line 11 through Page 156, Line 13 (Highly Confidential);

 2    Page 156, Line 14 through Page 163, Line 7 (Confidential); and

 3    Page 163, Line 8 through Page 209, Line 12 (Highly Confidential).

 4

 5

 6

 7

 8

 9

10

11

12

13

14      (Transcript continued on Pg. 209, Line 13)

15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 178 of 240

                                                                              Page 209
 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13                    (Time noted:         5:57 p.m.)
14

15

16                                     ---------------------
17                                     DANIEL JOSEPH FLEMING
18

19     Subscribed and sworn to before me
20     this             day of                          2009.
21

22     ---------------------------------------
23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 179 of 240

                                                                              Page 210
 1

 2                        C E R T I F I C A T E
 3

 4     STATE OF NEW YORK            )
 5                                   ) ss.:
 6     COUNTY OF NASSAU             )
 7

 8                    I, KRISTIN KOCH, a Notary Public
 9           within and for the State of New York, do
10           hereby certify:
11                    That DANIEL JOSEPH FLEMING, the
12           witness whose deposition is hereinbefore
13           set forth, was duly sworn by me and that
14           such deposition is a true record of the
15           testimony given by such witness.
16                    I further certify that I am not
17           related to any of the parties to this
18           action by blood or marriage; and that I am
19           in no way interested in the outcome of
20           this matter.
21                    IN WITNESS WHEREOF, I have hereunto
22           set my hand this 28th day of August, 2009.
23                                -------------------------
24                                KRISTIN KOCH, RPR, RMR, CRR, CLR
25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 180 of 240

                                                                               Page 211
 1
 2     --------------------I N D E X------------------
 3

       WITNESS                         EXAMINATION BY                PAGE
 4

       DANIEL JOSEPH FLEMING                   MS. CARRERO                 6
 5

                                               MR. ROTHMAN             156
 6

                                               MR. C. GREEN            208
 7

       --------------------EXHIBITS-------------------
 8
 9     NUMBER                                              PAGE LINE
10

       Exhibit 294B
11     E-mail dated September 15, 2008,
       Bates stamped 10302690, and Chase
12     Tri-Party Haircut Summary Bates
       stamped 10308382..................... 40                      21
13

       Exhibit 295B
14     E-mail dated 9-18-2008............... 64                      3
15     Exhibit 296B
       E-mail dated September 18, 2008,
16     Bates stamped 10303223............... 69                      7
17     Exhibit 297B
       E-mail dated 9-18-2008............... 72                      18
18

       Exhibit 298B
19     E-mail dated 9-21-2008............... 74                      6
20     Exhibit 299B
       E-mail dated 9-19-2008............... 89                      19
21

       Exhibit 300B
22     E-mail dated September 23, 2008,
       Bates stamped BCI-EX-(S)-00019269
23     and BCI-EX-(S)-00019270.............. 111                     25
24     Exhibit 301B
       E-mail dated September 21, 2008,
25     Bates stamped 10307085............... 123                     19
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 181 of 240

                                                                              Page 212
 1
 2     --------------------EXHIBITS-------------------
 3

       NUMBER                                              PAGE LINE
 4
 5     Exhibit 302B
       E-mail dated September 22, 2008,
 6     Bates stamped BCI-EX-(S)-00018817....                  127    9
 7     Exhibit 303B
       E-mail dated September 19, 2008,
 8     Bates stamped 465433.................                  129    6
 9     Exhibit 304B
       E-mail dated September 17, 2008,
10     Bates stamped 10306758, with
       attached spread sheet, Bates
11     stamped 10306405.....................                  132    8
12     Exhibit 305B
       E-mail dated September 23, 2008,
13     Bates stamped BCI-EX-(S)-000191987
       through BCI-EX-(S)-000191194.........                  139    10
14

       Exhibit 306B
15     E-mail dated September 22, 2008,
       Bates stamped 10295071............... 142                     12
16

       Exhibit 307B
17     Letter dated September 22, 2008,
       Bates stamped BCI-EX-00077308
18     through BCI-EX-00077310.............. 142                     15
19     Exhibit 308B
       E-mail dated September 25, 2008,
20     Bates stamped BCI-EX-(S)-00011649
       through BCI-EX-(S)-00011651.......... 147                     21
21

       Exhibit 309B
22     E-mail dated 9-20-2008............... 163                     10
23     Exhibit 310B
       E-mail dated September 23, 2008,
24     Bates stamped BCI-EX-(S)-00019297
       and BCI-EX-(S)-00019298.............. 168                     24
25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 182 of 240

                                                                              Page 213
 1
 2     --------------------EXHIBITS-------------------
 3

       NUMBER                                              PAGE LINE
 4
 5     Exhibit 311B
       E-mail dated September 23, 2008,
 6     Bates stamped BCI-EX-(S)-00004061
       and BCI-EX-(S)-00004062, with
 7     attached Lehman Brothers, Inc.
       Customer/PAIB Reserve Analysis....... 171                     20
 8

       Exhibit 312B
 9     E-mail dated September 27, 2008,
       Bates stamped BCI-EX-(S)-00021746,
10     with attached OCC summary............ 186                     15
11     Exhibit 313B
       E-mail dated October 1, 2008, Bates
12     stamped BCI-EX-(S)-00004784.......... 192                     9
13     Exhibit 314B
       E-mail dated 9-21-08................. 194                     11
14

       Exhibit 315B
15     E-mail dated 9-21-2008............... 202                     12
16
17
18
19
20
21
22
23
24
25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 183 of 240

                                                                              Page 214
 1

 2             ERRATA SHEET FOR THE TRANSCRIPT OF:
 3     Case Name:                 In re:      Lehman Brothers
       Dep. Date:                 August 28, 2009
 4     Deponent:                  Daniel Joseph Fleming
 5                               CORRECTIONS:
 6     Pg. Ln.      Now Reads              Should Read            Reason
 7     ___ ___      ______________         ______________         ______
 8     ___ ___      ______________         ______________         ______
 9     ___ ___      ______________         ______________         ______
10     ___ ___      ______________         ______________         ______
11     ___ ___      ______________         ______________         ______
12     ___ ___      ______________         ______________         ______
13     ___ ___      ______________         ______________         ______
14     ___ ___      ______________         ______________         ______
15     ___ ___      ______________         ______________         ______
16     ___ ___      ______________         ______________         ______
17     ___ ___      ______________         ______________         ______
18

19                                           ____________________
20                                           Signature of Deponent
21     SUBSCRIBED AND SWORN BEFORE ME
22     THIS____DAY OF____________, 2009.
23

24     _______________________________
25     (Notary Public)          MY COMMISSION EXPIRES:_______
08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                           Volume I Pg 184 of 240




                           A. 12
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 185 of 240

                                                                                 Page 1
 1                                    J. HRASKA
 2                 UNITED STATES BANKRUPTCY COURT
 3                 SOUTHERN DISTRICT OF NEW YORK
 4    ----------------------x
 5    In Re:
 6                                               Chapter 11
 7    LEHMAN BROTHERS                            Case No. 08-13555(JMP)
 8    HOLDINGS, INC., et al.,                    (Jointly Administered)
 9

                           Debtors.
10

      -----------------------x
11

12

13                   DEPOSITION OF JAMES HRASKA
14                        New York, New York
15                         August 14, 2009
16

17

18

19

20

21

22

23    Reported by:
24    KATHY S. KLEPFER, RMR, RPR, CRR, CLR
25    JOB NO. 24039

                            TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 186 of 240

                                                                                Page 2
 1                              J. HRASKA
 2                        August 14, 2009
 3                              9:25 a.m.
 4

 5

 6          Deposition of JAMES HRASKA, held at
 7          Jones Day LLP, 222 East 41st Street,
 8          New York, New York, before Kathy S.
 9          Klepfer, a Registered Professional
10          Reporter, Registered Merit Reporter,
11          Certified Realtime Reporter, Certified
12          Livenote Reporter, and Notary Public
13          of the State of New York.
14

15

16

17

18

19

20

21

22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 187 of 240

                                                                                Page 3
 1                              J. HRASKA
 2

 3                    A P P E A R A N C E S:
 4

 5    JONES DAY, LLP
 6    Attorneys for Lehman Brothers, Inc.
 7          222 East 41st Street
 8          New York, New York               10017-6702
 9    BY:   WILLIAM J. HINE, ESQ.
10          GEORGE E. SPENCER, ESQ.
11

12    BOIES, SCHILLER & FLEXNER, LLP
13    Attorneys for Barclays and the Witness
14          5301 Wisconsin Avenue, N.W.
15          Washington, D.C.             20015
16    BY:   JONATHAN M. SHAW, ESQ.
17

18    QUINN, EMANUEL, URQUHART, OLIVER & HEDGES, LLP
19    Attorneys for the Creditors Committee
20          51 Madison Avenue
21          22nd Floor
22          New York, New York               10010
23    BY:   ERIC M. KAY, ESQ.
24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 188 of 240

                                                                                Page 4
 1                              J. HRASKA
 2

 3           A P P E A R A N C E S:                   (Cont'd.)
 4

 5    JENNER & BLOCK, LLP
 6    Attorneys for the Examiner
 7          330 N. Wabash Avenue
 8          Chicago, Illinois              60611-7603
 9    BY:   DAVID C. LAYDEN, ESQ.
10

11    HUGHES, HUBBARD & REED, LLP
12    Attorneys for the SIPA Trustee
13          One Battery Park Plaza
14          New York, New York               10004
15    BY:   NEIL J. OXFORD, ESQ.
16          AMINA HASSAN, ESQ.
17

18

19    Also Present:
20          RAJESH ANKALKOTI, Alvarez & Marsal
21

22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14       Appendix
                                Volume I Pg 189 of 240

                                                                                    Page 5
 1                              J. HRASKA
 2    JAMES HRASKA, called as a
 3          witness, having been duly sworn by a Notary
 4          Public, was examined and testified as
 5          follows:
 6    EXAMINATION BY
 7    MR. HINE:
 8         Q.       Good morning, Mr. Hraska.
 9         A.       Good morning.
10         Q.       We met just briefly before the
11    deposition.       My name is Bill Hine.                    I'm from the
12    firm of Jones Day and we are special counsel to
13    Lehman Brothers Holdings, Inc., in connection
14    with the pending bankruptcy proceeding.                         And so
15    your deposition is being taken today pursuant to
16    that discovery that we're taking in that case.
17                  There's several other counsel around
18    the table who will introduce themselves as they
19    get up to take turns questioning.
20                  Have you ever had a deposition taken
21    before?
22         A.       I have not.
23         Q.       So, just by way of a little ground
24    rules, I'm going to ask you a bunch of
25    questions.      You're under oath.                  You're going to

                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 190 of 240

                                                                                Page 6
 1                              J. HRASKA
 2    answer the questions.
 3                  On occasion, your counsel will state
 4    an objection or, you know, make some kind of
 5    objection for the record.                 That doesn't relieve
 6    you of the obligation to answer the question.
 7    It's just him trying to either correct a portion
 8    of my question or preserve an objection.
 9                  In that regard, throughout the day, I
10    am undoubtedly going to a misuse a word or some
11    kind of acronym or some technical term that you
12    folks use every day in your line of business
13    which I'm not as familiar with as you are,
14    obviously, so please correct me if I misuse a
15    word or I ask a question that's misleading in
16    any way or you just don't understand the
17    question because I would like to ask a clear
18    question so you can answer it.
19                  Is that okay?
20         A.       That's fine.           Thank you.
21                  MR. SHAW:        Just before we begin,
22         again, I want to put on the record our
23         understanding that we will designate the
24         entire transcript highly confidential and
25         then we'll go back and redesignate.

                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14       Appendix
                                 Volume I Pg 191 of 240

                                                                                     Page 7
 1                                    J. HRASKA
 2                  MR. HINE:         Yes.       That's true.          That's
 3         fine.
 4         Q.       One other thing before we get started,
 5    Mr. Hraska.       I imagine you're aware that you've
 6    been designated as what's called a 30(b)(6)
 7    witness by your employer, by Barclays, as to
 8    particular topics, and they relate to Schedules
 9    A and B which we'll discuss later.                          So when we
10    get to that portion of the deposition, I'll let
11    you know and we'll treat that portion as a
12    30(b)(6) deposition, but I'll let you know as we
13    get there.
14                  MR. SHAW:         Just so we're, again,
15         clear, Bill, as I think you know, he is one
16         of several witnesses who's been designated
17         as partially responsive to those particular
18         topics.
19                  MR. HINE:         I understand.
20         Q.       So, unless you have any questions, we
21    can get started.
22         A.       No, I'm fine.
23         Q.       Okay.       Can we just review briefly your
24    employment history with Lehman?                        What was the
25    last position you held at Lehman?                         I'm talking

                            TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14    Appendix
                                Volume I Pg 192 of 240

                                                                                 Page 8
 1                              J. HRASKA
 2    about in the period of September 2008.
 3         A.       I was senior vice president from a
 4    corporate title perspective and I managed the
 5    Secured Financing Operations Group.
 6         Q.       And can you just describe for me what
 7    that means?       What were your responsibilities and
 8    duties in that position?
 9         A.       The Financing Operations, also known
10    as a financing middle office, is a group that
11    sits between a bunch of groups, but primarily
12    trading and sales individuals and clearance and
13    settlements folks, and we do tasks such as, you
14    know, monitoring positions, reconciling
15    differences, dealing with, you know, customer,
16    you know, concerns, bringing the attention of
17    customers' concerns to either sales staff or
18    trading staff.
19                  We also deal with legal and compliance
20    and regulatory on certain matters.                         If there
21    are, you know, questions or queries as to the
22    nature of the transactions, if somebody needs
23    some technical expertise on, we usually provide
24    that expertise as to the structure of the
25    transactions and things like that.

                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14      Appendix
                                 Volume I Pg 193 of 240

                                                                                    Page 9
 1                               J. HRASKA
 2         Q.       And who did you report to in that
 3    position?
 4         A.       At Lehman Brothers at the time, I was
 5    reporting to Monty Forrest.
 6         Q.       Did you report directly to anyone
 7    else?
 8         A.       No, under that structure I was a
 9    direct report of Monty Forrest.
10         Q.       And who were your direct reports?
11         A.       My direct reports now or at the time?
12         Q.       At the time in September of 2008.
13         A.       Okay, my direct reports in the U.S.
14    were Nancy Denig, D-E-N-I-G, and Paul Lindner.
15         Q.       Prior to this position -- or, let me
16    ask you another question.                  How long were you in
17    this senior vice president position?
18         A.       Approximately five to six years.                       I
19    don't remember the exact date, actually.                         I
20    don't remember the exact date when I got my
21    senior vice presidentship.
22         Q.       Okay.       How long had you been in the
23    position of managing the secured financing?
24         A.       It began in 2001, but it began in a
25    much smaller scale.             I only managed a portion of

                            TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 194 of 240

                                                                                Page 10
 1                               J. HRASKA
 2    it and over time it grew into a larger and
 3    larger responsibility.                At the point of
 4    September, I was managing both equity and fixed
 5    income.      I was managing that globally as well.
 6         Q.       Okay.       When did you join Lehman?
 7         A.       August of '93.
 8         Q.       So you held this management position
 9    since 2001, you said?
10         A.       That particular one related to
11    Financing Operations since 2001, yes.
12         Q.       What did you do before that at Lehman?
13         A.       I did a host of different roles, all
14    in derivatives-based.               I worked in Derivative
15    Settlements, I worked in Derivatives Middle
16    Office, and I also worked in a Structured
17    Products and Reinsurance Middle Office as well.
18         Q.       Okay:
19         A.       And over the period of time I also
20    held management positions in those roles as
21    well.
22         Q.       When you say middle office, could you
23    just tell me what that means?
24         A.       Middle office is similar to the way I
25    described it before for financing, only it was

                            TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 195 of 240

                                                                               Page 11
 1                       J. HRASKA

 2   for derivative-related products.            So same types

 3   of trader inquiries, sales inquiries, customer

 4   resolutions to problems, things like that.

 5     (The following portions have been removed due to their

 6   Confidentiality designations:

 7   Page 11, Line 5 through Page 21, Line 19 (Highly Confidential);

 8   Page 21, Line 20 through Page 32, Line 4 (Confidential);

 9   Page 32, Line 5 through Page 88, Line 14 (Highly Confidential);

10   Page 88, Line 15 through Page 91, Line 15 (Confidential);

11   Page 91, Line 16 through Page 148, Line 4 (Highly Confidential);

12   Page 148, Line 5 through Page 156, Line 15 (Confidential); and

13   Page 156, Line 16 through Page 321, Line 15 (Highly Confidential).

14

15      The Transcript is continued on Page 321, Line 16)

16

17

18

19

20

21

22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 196 of 240

                                                                              Page 321
 1                               J. HRASKA
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16                   (Time Noted:            5:53 P.M.)
17

18

19                                           ____________________
20                                           JAMES HRASKA
21

22           Subscribed and sworn to
             before me this                  day
23           of                 2009.
24

             _______________________
25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 197 of 240

                                                                              Page 322
 1

 2                               J. HRASKA
 3                              CERTIFICATE
 4          STATE OF NEW YORK )
                                         :    ss
 5          COUNTY OF NEW YORK)
 6                   I, Kathy S. Klepfer, a Registered
 7          Merit Reporter and Notary Public within and
 8          for the State of New York, do hereby
 9          certify:
10                   That JAMES HRASKA, the witness whose
11          deposition is herein before set forth, was
12          duly sworn by me and that such deposition is
13          a true record of the testimony given by such
14          witness.
15                   I further certify that I am not
16          related to any of the parties to this action
17          by blood or marriage and that I am in no way
18          interested in the outcome of this matter.
19                   I further certify that neither the
20          deponent nor a party requested a review of
21          the transcript pursuant to Federal Rule of
22          Civil Procedure 30(e) before the deposition
23          was completed.
24                   In witness whereof, I have hereunto
25          set my hand this 14th day of August, 2009.

                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14    Appendix
                                 Volume I Pg 198 of 240

                                                                                Page 323
 1                              -------------------------------
 2                              KATHY S. KLEPFER, RPR, RMR, CRR, CLR
 3                                J. HRASKA
 4                                   INDEX
 5     WITNESS:                      EXAMINATION BY                         PAGE
 6     J. HRASKA                     Mr. Hine                                  5
 7                                   Mr. Oxford                              239
 8     EXHIBITS:                                                            PAGE
 9     Exhibit 136B, a document bearing Bates                                 16
10     Nos. BCI-EX-00077317 through 77319
11     Exhibit 137B, a document bearing Bates                                 90
12     Nos. 10294679 with attached spreadsheets
13     Exhibit 138B, an e-mail chain, the first                               92
14     one in time bearing a date of September 18,
15     2008, at 5:40 P.M.
16     Exhibit 139B, Printout of Schedules                                   112
17     Exhibit 140B, a document bearing Bates Nos.                           131
18     BCI-CG00052538 through 53173
19     Exhibit 141B, a document bearing Bates Nos.                           134
20     BCI-CG00055192 through 55629
21     Exhibit 142B, a document bearing Bates Nos.                           178
22     465401 and 466143
23     Exhibit 143B, an e-mail chain, the first                              190
24     in time dated September 17, 2008, at 2:42,
25     with attachment

                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14    Appendix
                                Volume I Pg 199 of 240

                                                                                 Page 324
 1     Exhibit 144B, a document bearing Bates                               195
 2     Nos. 10297377 through 10300510
 3                               J. HRASKA
 4                                   INDEX
 5     EXHIBITS:                                                           PAGE
 6     Exhibit 145B, a document bearing Bates                               211
 7     Nos. 10328099 through 10319396
 8     Exhibit 146B, a document bearing Bates                               230
 9     Nos. BCI-EX-(S)-00014389 through 14393
10     with attachment
11     Exhibit 147B, an e-mail sent from Mr. Hraska                         254
12     to Paolo Tonucci, copying others, on Friday,
13     the 19th of September, 2008
14     Exhibit 148B, an e-mail chain, the first                             256
15     in time dated September 19, 2008, at 3:43 P.M.
16     Exhibit 149B, an e-mail from Gene Lempert,                           259
17     to Mr. Hraska, Sunday, September 21, at 3:38
18     A.M. GMT, or 11:38 P.M. EST
19     Exhibit 150B, Mr. Lempert to J. Hraska                              265
20     and others, Sunday, 9/21, at 1:34 A.M. GMT
21     Exhibit 151B, an e-mail from Monty Forrest                          267
22     to Mr. Lowitt, Mr. Blackwell, Mr. Ullman
23     and J. Hraska, copying Mr. Tonucci and
24     others, sent on Sunday, 9/21, at 9:16
25     A.M. GMT

                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14    Appendix
                                Volume I Pg 200 of 240

                                                                               Page 325
 1

 2

 3                               J. HRASKA
 4                                   INDEX
 5     EXHIBITS:                                                           PAGE
 6     Exhibit 152B, an e-mail from Alastair                           274
 7     Blackwell to Monty Forrest and to J.
 8     Hraska, copying Mr. Tonucci dated Monday,
 9     22nd of September, 10:35 A.M. GMT
10     Exhibit 153B, a document bearing Bates                          276
11     Nos. BCI-EX-00003796
12     Exhibit 154B, a document bearing Bates                          279
13     Nos. BCI-EX-00007930 through 7931
14     Exhibit 155B, a document bearing Bates                          293
15     Nos. BCI-EX-S-00017385 and 7386
16     Exhibit 156B, a letter from Cleary                              308
17     Gottlieb Stein & Hamilton is James Kobak
18     at Hughes Hubbard dated October 6, 2009
19

20

21

22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 201 of 240

                                                                              Page 326
 1                               J. HRASKA
 2     NAME OF CASE:        In re Lehman Brothers
 3     DATE OF DEPOSITION:             August 14, 2009
 4     NAME OF WITNESS:          James Hraska
 5     Reason Codes:
 6           1.     To clarify the record.
 7           2.     To conform to the facts.
 8           3.     To correct transcription errors.
 9     Page ______ Line ______ Reason ______
10     From _____________________ to _____________________
11     Page ______ Line ______ Reason ______
12     From _____________________ to _____________________
13     Page ______ Line ______ Reason ______
14     From _____________________ to _____________________
15     Page ______ Line ______ Reason ______
16     From _____________________ to _____________________
17     Page ______ Line ______ Reason ______
       From _____________________ to _____________________
18     Page ______ Line ______ Reason ______
19     From _____________________ to _____________________
20     Page ______ Line ______ Reason ______
       From _____________________ to _____________________
21     Page ______ Line ______ Reason ______
22     From _____________________ to _____________________
23

24                                                      _________________
25                                                      JAMES HRASKA

                           TSG Reporting - Worldwide (877) 702-9580
08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                           Volume I Pg 202 of 240




                           A. 13
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 203 of 240

                                                                                Page 1
 1

 2           UNITED STATES BANKRUPTCY COURT
 3           SOUTHERN DISTRICT OF NEW YORK
 4    -------------------------------x
      In Re:                                     Chapter 11
 5    LEHMAN BROTHERS                            Case No. 08-13555 (JMP)
      HOLDINGS, INC., et al.,                    (Jointly Administered)
 6    -------------------------------)
 7

 8

 9                 DEPOSITION OF MIKE KEEGAN
10                      New York, New York
11                  Friday, August 28, 2009
12

13

14

15

16

17

18

19

20    Reported by:
      FRANCIS X. FREDERICK, CSR, RPR, RMR
21    JOB NO. 24379
22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 204 of 240

                                                                                Page 2
 1

 2

 3

 4

 5                    August 28, 2009
 6                    8:46 a.m.
 7

 8

 9

10           Deposition of MIKE KEEGAN, held at the offices of
11           Jones Day, 222 East 41st Street, New
12           York, New York, pursuant to Notice,
13           before Francis X. Frederick, a Certified
14           Shorthand Reporter, Registered Merit
15           Reporter and Notary Public of the States
16           of New York and New Jersey.
17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 205 of 240

                                                                                Page 3
 1

 2    A P P E A R A N C E S:
 3

 4           JONES DAY, LLP
 5           Attorneys for Lehman Brothers, Inc.
 6                    222 East 41st Street
 7                    New York, New York            10017-6702
 8           BY:      JAYANT W. TAMBE, ESQ.
 9                    TERRY McMAHON, ESQ.
10

11           BOIES SCHILLER & FLEXNER, LLP
12           Attorneys for Barclays Capital
13                    575 Lexington Avenue - 7th Floor
14                    New York, New York            10022
15           BY:      JACK G. STERN, ESQ.
16

17           HUGHES, HUBBARD & REED, LLP
18           Attorneys for the SIPA Trustee
19                    1175 I Street, N.W.
20                    Washington, D.C.           20006-2401
21           BY:      JOHN F. WOOD, ESQ.
22                    FARA TABATABAI, ESQ.
23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 206 of 240

                                                                                Page 4
 1

 2    A P P E A R A N C E S:            (Cont'd.)
 3           JENNER & BLOCK, LLC
 4           Attorneys for the Examiner
 5                    330 N. Wabash Avenue
 6                    Chicago, Illinois           60611-7603
 7           BY:      DAVID C. LAYDEN, ESQ.
 8

 9           QUINN, EMANUEL, URQUHART, OLIVER &
10           HEDGES, LLP
11           Attorneys for the Creditors Committee
12                    51 Madison Avenue - 22nd Floor
13                    New York, New York            10010
14           BY:      ROBERT K. DAKIS, ESQ.
15

16

17    ALSO PRESENT:
18           RAJESH ANKALKOTI, Alvarez & Marsal
19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 207 of 240

                                                                                Page 5
 1                              M. KEEGAN
 2    M I K E       K E E G A N,          called as a witness,
 3           having been duly sworn by a Notary
 4           Public, was examined and testified as
 5           follows:
 6    EXAMINATION BY
 7    MR. TAMBE:
 8           Q.       Good morning, Mr. Keegan.               We've
 9    met a few minutes ago.            My name is Jay Tambe
10    and I'm one of the lawyers at Jones Day.                    We
11    are counsel -- special counsel to the Lehman
12    Brothers Holdings estate.              With me is my
13    colleague, Terry McMahon.              I'll have the other
14    lawyers who are sitting at the table introduce
15    themselves.
16                    MR. WOOD:        I'm John Wood from
17           Hughes Hubbard & Reed and we represent
18           the SIPA Trustee.
19                    MS. TABATABAI:          Fara Tabatabai
20           also with Hughes Hubbard & Reed.
21                    THE WITNESS:         Excuse me.        I didn't
22           hear that.
23                    MS. TABATABAI:          Fara Tabatabai
24           from Hughes Hubbard & Reed.
25                    MR. DAKIS:        Robert Dakis from
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 208 of 240

                                                                                Page 6
 1                        M. KEEGAN

 2          Quinn, Emanuel, Urquhart, Oliver &

 3          Hedges for the Official Committee of

 4          Unsecured Committee.

 5                 MR. LAYDEN:     Good morning.      David

 6          Layden from Jenner & Block for the

 7          Examiner.

 8   BY MR. TAMBE:

 9   (The following portions have been removed due to their

10   Confidentiality designations:

11   Page 6, Line 9 through Page 15, Line 13 (Confidential);

12   Page 15, Line 14 through Page 18, Line 4 (Highly Confidential);

13   Page 18, Line 5 through Page 28, Line 10 (Confidential);

14   Page 28, Line 11 through Page 84, Line 6 (Highly Confidential);

15   Page 84, Line 7 through Page 86, Line 19 (Confidential); and

16   Page 86, Line 20 through Page 148, Line 8 (Highly Confidential).

17

18

19

20

21

22        (Transcript continued on Pg. 148, Line 9)

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 209 of 240

                                                                              Page 148
 1

 2

 3

 4

 5

 6

 7

 8

 9                      Off the record.
10                      (Time Noted:              12:39 p.m.)
11

12

13

14

15

16

17

18

19                               ____________________
20                               MIKE KEEGAN
21

22     Subscribed and sworn to before me
23     this ___ day of __________, 2009.
24

25     _________________________________
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 210 of 240

                                                                              Page 149
 1

 2             C E R T I F I C A T E
 3     STATE OF NEW YORK             )
 4                                   : ss.
 5     COUNTY OF NEW YORK            )
 6                      I, FRANCIS X. FREDERICK, a Notary
 7             Public within and for the State of New
 8             York, do hereby certify:
 9                      That MIKE KEEGAN, the witness
10             whose deposition is hereinbefore set
11             forth, was duly sworn by me and that
12             such deposition is a true record of the
13             testimony given by the witness.
14                      I further certify that I am not
15             related to any of the parties to this
16             action by blood or marriage, and that I
17             am in no way interested in the outcome
18             of this matter.
19                      IN WITNESS WHEREOF, I have
20             hereunto set my hand this 28th day of
21             August, 2009.
22

23                                        _____________________
24                                        FRANCIS X. FREDERICK
25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 211 of 240

                                                                              Page 150
 1

 2     ----------------- I N D E X ------------------
 3     WITNESS                      EXAMINATION BY               PAGE
 4     MIKE KEEGAN                  MR. TAMBE                    5, 146
 5                                  MR. WOOD                     119
 6                                  MR. DAKIS                    135
 7                                  MR. STERN                    141
 8

 9

10

11     ----------- INFORMATION REQUESTS -------------
12     DIRECTIONS:       146, 147, 147
13     RULINGS:      NONE
14     TO BE FURNISHED:          NONE
15     REQUESTS:      NONE
16     MOTIONS:      NONE
17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 212 of 240

                                                                              Page 151
 1

 2     ------------------ EXHIBITS ------------------
 3     EXHIBIT                                                  FOR ID.
 4     Exhibit 294A
 5     document bearing production
 6     number BCI-EX-(S)-00035155.............. 47
 7     Exhibit 295A
 8     document bearing production
 9     number BCI-EX-(S)-00035143.............. 49
10     Exhibit 296A
11     document bearing production
12     number BCI-EX-(S)-00035440............. 52
13     Exhibit 297A
14     document bearing production
15     numbers BCI-EX-(S)-00035441
16     through BCI-EX-(S)-00035442.............. 55
17     EXHIBIT 298A
18     Document bearing production
19     number BCI-EX-(S)-00035491................56
20     Exhibit 299A
21     document bearing production
22     numbers BCI-EX-(S)-00035619
23     through BCI-EX-(S)-00035620.............. 63
24     Exhibit 300A
       document bearing production
25     number BCI-EX-(S)-00036005............... 68
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 213 of 240

                                                                              Page 152
 1

 2     ------------------ EXHIBITS ------------------
 3     EXHIBIT                                                  FOR ID.
 4     Exhibit 301A
 5     document bearing production
 6     numbers BCI-EX-(S)-00082251.............. 76
 7     Exhibit 302A
 8     document bearing production
 9     number BCI-EX-00054270................... 79
10     Exhibit 303A
11     document bearing production
12     number BCI-EX-00077814................... 102
13     Exhibit 304A
14     document bearing production
15     number BCI-EX-00080560................... 104
16     Exhibit 305A
17     document bearing production
18     number BCI-EX-(S)-00036496............... 109
19     Exhibit 306A
20     e-mail dated Sunday,
21     9/21/2008 9:15:16 p.m.................... 119
22     Exhibit 307A
23     document bearing production
24     numbers BCI-EX-00053873
25     through BCI-EX-00054261.................. 122
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 214 of 240

                                                                              Page 153
 1

 2     ------------------ EXHIBITS ------------------
 3     EXHIBIT                                                  FOR ID.
 4     Exhibit 308A
 5     document bearing production
 6     numbers BCI-EX-(S)-00036396............. 129
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 215 of 240

                                                                              Page 154
 1
 2             NAME OF CASE: IN RE: LEHMAN BROTHERS
 3             DATE OF DEPOSITION: AUGUST 28, 2009
 4             NAME OF WITNESS: MIKE KEEGAN
 5             Reason codes:
                     1. To clarify the record.
 6                   2. To conform to the facts.
                     3. To correct transcription errors.
 7             Page _______ Line ______ Reason _____
               From __________________ to _____________
 8

               Page   _______ Line ______ Reason _____
 9             From   __________________ to _____________
10             Page   _______ Line ______ Reason _____
               From   __________________ to _____________
11

               Page   _______ Line ______ Reason _____
12             From   __________________ to _____________
13             Page   _______ Line ______ Reason _____
               From   __________________ to _____________
14

               Page   _______ Line ______ Reason _____
15             From   __________________ to _____________
16             Page   _______ Line ______ Reason _____
               From   __________________ to _____________
17

               Page   _______ Line ______ Reason _____
18             From   __________________ to _____________
19             Page   _______ Line ______ Reason _____
               From   __________________ to _____________
20

               Page   _______ Line ______ Reason _____
21             From   __________________ to _____________
22             Page   _______ Line ______ Reason _____
               From   __________________ to _____________
23

                                 ____________________________
24

                                 MIKE KEEGAN
25
08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                           Volume I Pg 216 of 240




                           A. 14
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 217 of 240

                                                                                 Page 1
 1                                M. KELLY
 2                 UNITED STATES BANKRUPTCY COURT
 3                 SOUTHERN DISTRICT OF NEW YORK
 4    ----------------------x
 5    In Re:
 6                                               Chapter 11
 7    LEHMAN BROTHERS                            Case No. 08-13555(JMP)
 8    HOLDINGS, INC., et al.,                    (Jointly Administered)
 9

                           Debtors.
10

      -----------------------x
11

12

13                   DEPOSITION OF MARTIN KELLY
14                        New York, New York
15                         August 18, 2009
16

17

18

19

20

21

22

23    Reported by:
24    KATHY S. KLEPFER, RMR, RPR, CRR, CLR
25    JOB NO. 24042

                            TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 218 of 240

                                                                                Page 2
 1                               M. KELLY
 2                        August 19, 2009
 3                              9:30 a.m.
 4

 5

 6          Deposition of MARTIN KELLY, held at
 7          Jones Day, LLP, 222 East 41st Street,
 8          New York, New York, before Kathy S.
 9          Klepfer, a Registered Professional
10          Reporter, Registered Merit Reporter,
11          Certified Realtime Reporter, Certified
12          Livenote Reporter, and Notary Public
13          of the State of New York.
14

15

16

17

18

19

20

21

22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 219 of 240

                                                                                Page 3
 1                               M. KELLY
 2

 3                    A P P E A R A N C E S:
 4    JONES DAY, LLP
 5    Attorneys for Lehman Brothers, Inc.
 6          222 East 41st Street
 7          New York, New York               10017-6702
 8    BY:   ROBERT W. GAFFEY, ESQ.
 9          DAVID L. CARDEN, ESQ.
10          BRIDGET CRAWFORD, ESQ.
11

12    WILLKIE, FARR & GALLAGHER, LLP
13    Attorneys for the Witness
14          1875 K Street, NW
15          Washington, D.C.             20006-1238
16    BY:   RICHARD D. BERNSTEIN, ESQ.
17          - AND -
18    WILLKIE, FARR & GALLAGHER, LLP
19          787 Seventh Avenue
20          New York, New York               10019-6099
21    BY:   KELLY M. HNATT, ESQ.
22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 220 of 240

                                                                                Page 4
 1                               M. KELLY
 2           A P P E A R A N C E S:                   (Cont'd.)
 3    BOIES, SCHILLER & FLEXNER, LLP
 4    Attorneys for Barclays Capital
 5          5301 Wisconsin Avenue, NW
 6          Suite 800
 7          Washington, D.C.             20015
 8    BY:   HAMISH HUME, ESQ.
 9

10    QUINN, EMANUEL, URQUHART, OLIVER & HEDGES, LLP
11    Attorneys for the Creditors Committee
12          865 S. Figueroa Street, 10th Floor
13          Los Angeles, California                   90017
14    BY:   ERICA P. TAGGART, ESQ.
15

16    JENNER & BLOCK, LLP
17    Attorneys for the Examiner
18          330 N. Wabash Avenue
19          Chicago, Illinois              60611-7603
20    BY:   DAVID C. LAYDEN, ESQ.
21

22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 221 of 240

                                                                                Page 5
 1                               M. KELLY
 2           A P P E A R A N C E S:                   (Cont'd.)
 3

 4    HUGHES, HUBBARD & REED, LLP
 5    Attorneys for the SIPA Trustee
 6          One Battery Park Plaza
 7          New York, New York               10004-1482
 8    BY:   NEIL J. OXFORD, ESQ.
 9          FARA TABATABAI, ESQ.
10

11    Also Present:
12          RAJESH ANKALKOTI, Alvarez & Marsal
13          THOMAS E. HOMMEL, Lehman Brothers
14

15

16

17

18

19

20

21

22

23

24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1    Filed 09/15/09 Entered 09/15/09 10:22:14           Appendix
                                 Volume I Pg 222 of 240

                                                                                         Page 6
 1                                M. KELLY
 2    MARTIN KELLY, called as a
 3          witness, having been duly sworn by a Notary
 4          Public, was examined and testified as
 5          follows:
 6    EXAMINATION BY
 7    MR. GAFFEY:
 8         Q.       Mr. Kelly, good morning.                      My name is
 9    Bob Gaffey.       We met briefly before.                         I'm with
10    Jones Day and we are special counsel to the
11    estate of Lehman Brothers Holdings, Inc., and as
12    you may know, probably know, we're looking into
13    certain matters concerning the transaction that
14    took place between Lehman and Barclays in
15    September of 2008.
16                  Let me just start by getting a brief
17    description of your background, sir.                              Could you
18    tell me what your education is since high
19    school, after high school?
20         A.       Sure.       I have a undergraduate degree
21    in commerce with a major in accounting and
22    finance from the University of New South Wales
23    in Sidney, Australia.               I have -- I'm an
24    associate of the Securities Institute of
25    Australia.      I qualified as a chartered

                            TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 223 of 240

                                                                                Page 7
 1                               M. KELLY
 2    accountant in Australia, and I became a
 3    certified practicing accountant in the United
 4    States.
 5         Q.       When did you take your degree, your
 6    first degree?
 7         A.       '88 would have been -- yeah, I
 8    completed in '88.
 9         Q.       And other than as a chartered
10    accountant in Australia and a CPA in the United
11    States, have you taken any other professional
12    licenses?
13         A.       Yes, I have.           I've taken licenses
14    under the FINRA regulations, so Series 7, Series
15    24, Series 27, and I believe Series 63.
16         Q.       And do you keep your license current
17    as a CPA?
18         A.       No.
19         Q.       And --
20         A.       My licenses -- I keep my FINRA
21    licenses current.
22         Q.       Your FINRA licenses are current, your
23    CPA is dormant, and what about the Australia
24    license; is that dormant or current?
25         A.       I'm not sure, actually.

                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 224 of 240

                                                                                Page 8
 1                         M. KELLY

 2       (The following portions have been removed due to

 3        their Confidentiality designations:

 4   Page 8, Line 2 through Page 13, Line 13 (Confidential);

 5   Page 13, Line 14 through Page 120, Line 20 (Highly Confidential);

 6   Page 120, Line 21 through Page 125, Line 9 (Confidential);

 7   Page 125, Line 10 through Page 251, Line 24 (Highly Confidential); and

 8   Page 251, Line 25 through Page 254, Line 8 (Confidential)

 9

10        The transcript is continued on Page 254, Line 9.)

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 225 of 240

                                                                               Page 254
 1                                    M. KELLY
 2

 3

 4

 5

 6

 7

 8

 9                     (Discussion off the record.)
10                     (Time Noted:            5:49 P.M.)
11                                        oOo
12

13

14

15

16

17

18                                             ____________________
                                               MARTIN KELLY
19

20             Subscribed and sworn to
               before me this                  day
21             of                 2009.
22

               _______________________
23

24

25



                            TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 226 of 240

                                                                              Page 255
 1                                 M. KELLY
 2                               CERTIFICATE
 3           STATE OF NEW YORK )
                                         :    ss
 4           COUNTY OF NEW YORK)
 5                    I, Kathy S. Klepfer, a Registered
 6           Merit Reporter and Notary Public within and
 7           for the State of New York, do hereby
 8           certify:
 9                    That MARTIN KELLY, the witness whose
10           deposition is herein before set forth, was
11           duly sworn by me and that such deposition is
12           a true record of the testimony given by such
13           witness.
14                    I further certify that I am not
15           related to any of the parties to this action
16           by blood or marriage and that I am in no way
17           interested in the outcome of this matter.
18                    I further certify that neither the
19           deponent nor a party requested a review of
20           the transcript pursuant to Federal Rule of
21           Civil Procedure 30(e) before the deposition
22           was completed.
23                    In witness whereof, I have hereunto
24           set my hand this 18th day of August, 2009.
25                              -------------------------------------


                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 227 of 240

                                                                              Page 256
 1                                   M. KELLY
 2                                     INDEX
 3      WITNESS:                       EXAMINATION BY                      PAGE
 4      M. KELLY                       Mr. Gaffey                              5
 5      EXHIBITS:                                                          PAGE
 6      Exhibit 193, a document bearing Bates Nos.                           21
 7      BCI-EX-00077323 through 77325
 8      Exhibit 194, a document bearing Bates Nos.                           23
 9      BCI-EX-00077326 through 77327
10      Exhibit 195, a document bearing Bates Nos.                           84
11      10252949
12      Exhibit 196, a document bearing Bates Nos.                           91
13      464234 and 466133
14      Exhibit 197, a document bearing Bates Nos.                          161
15      10292661
16      Exhibit 198, a document bearing Bates Nos.                          207
17      BCI-EX-00115167 through 5173
18      Exhibit 199, an e-mail and attached                                 242
19      balance sheet
20      Exhibit 200, a document bearing Bates Nos.                          245
21      BCI-EX-00115141
22      Exhibit 201, an e-mail with attached                                247
23      financial schedule
24

25



                           TSG Reporting - Worldwide (877) 702-9580
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 228 of 240

                                                                              Page 257
 1                         M. KELLY
 2      NAME OF CASE: In re Lehman Brothers
 3      DATE OF DEPOSITION: August 18, 2009
 4      NAME OF WITNESS: Martin Kelly
 5      Reason Codes:
 6           1. To clarify the record.
             2. To conform to the facts.
 7           3. To correct transcription errors.
 8      Page ______ Line ______ Reason ______
        From _____________________ to _____________________
 9

        Page   ______ Line ______ Reason ______
10      From   _____________________ to _____________________
11      Page   ______ Line ______ Reason ______
        From   _____________________ to _____________________
12

        Page   ______ Line ______ Reason ______
13      From   _____________________ to _____________________
14      Page   ______ Line ______ Reason ______
        From   _____________________ to _____________________
15

        Page   ______ Line ______ Reason ______
16      From   _____________________ to _____________________
17      Page   ______ Line ______ Reason ______
        From   _____________________ to _____________________
18

        Page   ______ Line ______ Reason ______
19      From   _____________________ to _____________________
20      Page   ______ Line ______ Reason ______
        From   _____________________ to _____________________
21

        Page   ______ Line ______ Reason ______
22      From   _____________________ to _____________________
23      Page   ______ Line ______ Reason ______
        From   _____________________ to _____________________
24

                                                __________________________
25                                              MARTIN KELLY

                           TSG Reporting - Worldwide (877) 702-9580
08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                           Volume I Pg 229 of 240




                           A. 15
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 230 of 240

                                                                                Page 1
 1

 2                  UNITED STATES BANKRUPTCY COURT
 3                   SOUTHERN DISTRICT OF NEW YORK
 4    ------------------------x
 5    In Re:
 6                                        Chapter 11
 7    LEHMAN BROTHERS                     Case No. 08-13555(JMP)
 8    HOLDINGS, INC., et al,              (Jointly Administered)
 9                        Debtors.
10    -------------------------x
11

12

13                    DEPOSITION OF STEPHEN KING
14                          New York, New York
15                          September 10, 2009
16

17    Reported by:
18    MARY F. BOWMAN, RPR, CRR
19    JOB NO. 24299
20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 231 of 240

                                                                                Page 2
 1

 2

 3

 4

 5                                     September 10, 2009
 6                                     9:35 a.m.
 7

 8

 9                   Deposition of STEPHEN KING held at
10    the offices of Jones Day, LLP, 222 East 41st
11    Street, New York, New York, before Mary F.
12    Bowman, a Registered Professional Reporter,
13    Certified Realtime Reporter, and Notary Public
14    of the State of New York.
15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 232 of 240

                                                                                Page 3
 1

 2                               APPEARANCES:
 3    JONES DAY, LLP
 4    Attorneys for Lehman Brothers, Inc.
 5          222 East 41st Street
 6          New York, New York             10017-6702
 7    BY:   WILLIAM HINE, ESQ.
 8          GEORGE E. SPENCER, ESQ.
 9

10    BOIES, SCHILLER & FLEXNER, LLP
11    Attorneys for Barclays and The Witness
12          575 Lexington Avenue
13          New York, New York             10022
14    BY:   JACK STERN, ESQ.
15

16    QUINN, EMANUEL, URQUHART, OLIVER & HEDGES, LLP
17    Attorneys for the Creditors Committee
18          51 Madison Avenue
19          New York, New York             10010
20    BY:   ROBERT K. DAKIS, ESQ.
21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 233 of 240

                                                                                Page 4
 1

 2                               APPEARANCES:
 3

 4    JENNER & BLOCK, LLC
 5    Attorneys for the Examiner
 6          330 N. Wabash Avenue
 7          Chicago, Illinois             60611-7603
 8    BY:   DAVID C. LAYDEN, ESQ.
 9

10    HUGHES, HUBBARD & REED, LLP
11    Attorneys for the SIPA Trustee
12          One Battery Park Plaza
13          New York, New York             10004-1482
14    BY:   NEIL J. OXFORD, ESQ.
15          FARA TABATABAI, ESQ.
16

17    Also Present:
18          INGRID M. CHRISTIAN, Alvarez & Marsal
19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 234 of 240

                                                                                Page 5
 1

 2

 3

 4

 5                    IT IS HEREBY STIPULATED AND AGREED, by
 6           and between the attorneys for the respective
 7           parties herein, that filing and sealing be
 8           and the same are hereby waived.
 9                    IT IS FURTHER STIPULATED AND AGREED
10           that all objections, except as to the form
11           of the question, shall be reserved to the
12           time of the trial.
13

14

15                    IT IS FURTHER STIPULATED AND AGREED
16           that the within deposition may be sworn to
17           and signed before any officer authorized to
18           administer an oath, with the same force and
19           effect as if signed and sworn to before the
20           Court.
21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 235 of 240

                                                                                Page 6
 1                                 KING
 2      (The entire transcript has been removed due to
 3      it's Highly Confidential designation: Page 6, Line 2
 4      through Page 288, Line 3)
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 236 of 240

                                                                              Page 288
 1

 2

 3

 4                       (Time noted:         5:52 p.m.)
 5

 6

 7                                     ____________________
                                       STEPHEN KING
 8

 9             Subscribed and sworn to
10             before me this              day
11             of September, 2009.
12

13             _______________________
14

15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14       Appendix
                                Volume I Pg 237 of 240

                                                                                  Page 289
 1                                  KING
 2                                      INDEX:
 3      WITNESS                     EXAM BY:                         PAGE:
 4      S. King                     Mr. Hine                               6
 5                                  Mr. Oxford                       204
 6                                  Mr. Dakis                        283
 7                                  Mr. Layden                       285
 8

 9                                     EXHIBITS
10      Exhibit No.                                        Marked
11      Exhibit 388-B Document Bates stamped                                        34
12                          BCI-EX-S 74256 through 257
13      Exhibit 389-B Document Bates stamped                                       105
14                          BCI-EX-S 75200 through 201
15      Exhibit 390-B Document Bates stamped                                       141
16                          BCI-EX-S 52667 through 68 with
17                          attachment
18      Exhibit 391-B Document Bates stamped                                       181
19                          BCI-EX-S 136198
20      Exhibit 392-B E-mail dated Wednesday,                                      225
21                          September 17, 2008 at 19:14:24
22      Exhibit 393-B E-mail dated Friday, 19                                      235
23                          September 2008 at 00:57:45
24      Exhibit 394-B E-mail dated 9/19/2008 at                                    239
25                          9:41 p.m. with attachment
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 238 of 240

                                                                              Page 290
 1                                  KING
 2                                     EXHIBITS
 3      Exhibit No.                                        Marked
 4      Exhibit 395-B Document Bates stamped                                   255
 5                          BCI-EX-S 57416 through 417
 6      Exhibit 396-B Document Bates stamped                                   260
 7                          BCI-EX-S S8711 through 114
 8      Exhibit 397-B Document Bates stamped BCI                               278
 9                          EX-81185
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     08-13555-mg    Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                 Volume I Pg 239 of 240

                                                                               Page 291
 1                                   KING
 2

 3

 4                                    CERTIFICATE
 5                 STATE OF NEW YORK )
 6                                          )ss:
 7                 COUNTY OF NEW YORK)
 8                         I, MARY F. BOWMAN, a Registered
 9                 Professional Reporter, Certified Realtime
10                 Reporter, and Notary Public within and for
11                 the State of New York, do hereby certify:
12                         That STEPHEN KING, the witness whose
13                 deposition is hereinbefore set forth, was
14                 duly sworn by me and that such deposition is
15                 a true record of the testimony given by such
16                 witness.
17                         I further certify that I am not
18                 related to any of the parties to this action
19                 by blood or marriage and that I am in no way
20                 interested in the outcome of this matter.
21                         In witness whereof, I have hereunto
22                 set my hand this 10th day of September,
23                 2009.
24

25                                      __________________________
     08-13555-mg   Doc 5149-1   Filed 09/15/09 Entered 09/15/09 10:22:14   Appendix
                                Volume I Pg 240 of 240

                                                                              Page 292
 1                         KING
 2                    * * *ERRATA SHEET* * *
 3      NAME OF CASE: In Re: Lehman
 4      DATE OF DEPOSITION: September 10, 2009
 5      NAME OF WITNESS: STEPHEN KING
 6      Reason codes:
 7          1. To clarify the record.
            2. To conform to the facts.
 8          3. To correct transcription errors.
 9
10      Page ____ Line ____ Reason____
        From ___________________ to_________________
11
12      Page ____ Line ____ Reason____
        From ___________________ to_________________
13
14      Page ____ Line ____ Reason____
        From ___________________ to_________________
15
16      Page ____ Line ____ Reason____
        From ___________________ to_________________
17
18      Page ____ Line ____ Reason____
        From ___________________ to_________________
19
20      Page ____ Line ____ Reason____
        From ___________________ to_________________
21
22      Page ____ Line ____ Reason____
        From ___________________ to_________________
23
24                                         _______________________
                                            STEPHEN KING
25
